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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

BOARD OF TRUSTEES OF THE IUOE LOCAL )
4 PENSION FUND, et al.,             )
                                    )
                 Plaintiffs,        )
                                    )
           v.                       ) Civil Action No. 1:21-cv-10163-FDS
                                    )
GINA ALONGI,                        )
                                    )
                 Defendant.         )

        PLAINTIFFS’ CONCISE STATEMENT OF MATERIAL FACTS OF RECORD


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                              DISTRICT OF MASSACHUSETTS

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GINA ALONGI,                        )
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                 Defendant.         )

     PLAINTIFFS’ CONCISE STATEMENT OF MATERIAL FACTS OF RECORD
       Through undersigned counsel, Plaintiffs, the IUOE Local 4 Pension Fund (“Pension

Fund”), the IUOE Local 4 Annuity & Savings Fund (“Annuity Fund”), the IUOE Local 4 Health

and Welfare Fund (“Welfare Fund”), the Hoisting and Portable Engineers Apprenticeship &

Training Fund (“Training Fund” and, together with the Pension, Health, and Annuity Funds

“Funds”), the IUOE Local 4 Labor-Management Cooperation Trust, and the IUOE Local 4 Social

Action Committee, hereby submit the following statement in accordance with Local Rule 56.1 in

support of their Motion for Summary Judgment.

I.     The Parties

       1.      The Pension Fund is a trust fund established in accordance with the requirements

of Section 302(c) of the Labor Management Relations Act, 29 U.S.C. §186(c)(5), and is a

multiemployer benefit plan, organized under the provisions of the Employee Retirement Income

Security Act of 1974 (“ERISA”), 29 U.S.C. §§1102(a), 1002(37), (3), (2), (16), (21). (ECF No. 1,

¶¶ 2, 3; App. 017-25 (Ex. 2)).

       2.      The Pension Fund was established and is maintained in accordance with, inter alia,

the Trust Agreement of the International Union of Operating Engineers Local 4 and its Branches

Pension Fund (“Pension Fund Trust Agreement”) to provide retirement benefits through a defined
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benefit program to participants who worked under collective bargaining agreements negotiated by

IUOE Local 4 (“Local 4”) with various employers and employer associations who work within the

territorial jurisdiction of Local 4 within Massachusetts, New Hampshire, and Maine. (ECF No. 1,

¶¶ 2, 3; App. 003 (Geiman Decl. ¶ 4); App. 017-25 (Ex. 2)).

       3.      The Welfare Fund is a trust fund established in accordance with the requirements

of Section 302(c) of the Labor Management Relations Act, 29 U.S.C. §186(c)(5), and is a

multiemployer benefit plan, organized under the provisions of ERISA. 29 U.S.C. §§1102(a),

1002(37), (3), (1), (16), (21). (ECF No. 1, ¶¶ 6, 7; App. 027-36 (Ex. 3)).

       4.      The Welfare Fund was established and is maintained in accordance with, inter alia,

the Trust Agreement of the International Union of Operating Engineers Local 4 and its Branches

Health and Welfare Fund (“Welfare Fund Trust Agreement”) to provide that provides medical,

surgical, hospitalization, prescription drug, dental, vision, hearing, accident and sickness, and

death benefits to participants, their eligible beneficiaries, as well as eligible retirees through a

program overseen by the Trustees. (ECF No. ¶¶ 6, 7; App. 004-05 (Geiman Decl. ¶ 6); App. 027-

36 (Ex. 3)).

       5.      The Annuity Fund is a trust fund established in accordance with the requirements

of Section 302(c) of the Labor Management Relations Act, 29 U.S.C. §186(c)(5), and is a

multiemployer benefit plan, organized under the provisions of the Employee Retirement Income

Security Act of 1974 (“ERISA”), 29 U.S.C. §§1102(a), 1002(37), (3), (2), (16), (21). (ECF No. 1,

¶¶ 2, 3; App. 038-47 (Ex. 4)).

       6.      The Annuity Fund was established and is maintained in accordance with, inter alia,

the Trust Agreement of the International Union of Operating Engineers Local 4 and its Branches




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Annuity Fund (“Annuity Fund Trust Agreement”) to provide retirement benefits through a defined

benefit program overseen by the Trustees. (ECF No. 1, ¶¶ 2, 3; App. 038-47 (Ex. 4)).

        7.     The Annuity Fund is a defined contribution pension plan that also has a 401(k)

wage deferral option in which participants in the Annuity Fund are immediately vested in both the

contribution and wage deferral aspects of the Fund and are provided a menu of options in which

to invest their individual benefit accounts. (App. 004 (Geiman Decl. ¶ 5)).

        8.     The Pension, Welfare, and Annuity Fund’s operations are governed by the

respective Trust Agreements governing each Fund, each Fund’s respective Plan of Benefits, and

various policies and procedures adopted by the respective Board of Trustees of each Fund from

time to time. (App. 004-05 (Geiman Decl. ¶¶ 4, 5, 6)).

        9.     The Pension, Welfare, Annuity, and Training Funds are each financed by

contributions made by employers who employ operating engineers pursuant to the terms of a

written collective bargaining agreement with Local 4, and for each hour worked by such operating

engineers, the employers pay a contractually required amount of contributions to the Pension Fund

on a monthly basis, filing a remittance report with the Pension, Welfare, Annuity, and Training

Funds showing the hours worked by each of its covered employees.. ((ECF No. 1, ¶ 10; App. 004-

05 (Geiman Decl. ¶¶ 4, 5, 6, 7)).

        10.    The Fund Office collects these contributions, deposits them, and records the hours

of each such employee in order to grant them appropriate credit towards a possible pension,

retirement benefits, or health and welfare eligibility and coverage. (App. 004-05 (Geiman Decl. ¶¶

4, 5, 6)).




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        11.     As to the Annuity Fund, the employers pay the contributions detailed in Paragraph

9 herein on a monthly basis, and, additionally, covered employees may elect to defer some of their

wages to the Annuity Fund’s 401(k) component. (App. 004 (Geiman Decl. ¶ 5)).

        12.     The Fund Office collects these contributions and wage deferrals, deposits them, and

records the amounts received on their behalf, which are then forwarded to the Fund’s record keeper

to be allocated in the investment option chosen by the participants. (App. 004-05 (Geiman Decl.

¶¶ 4, 5, 6)).

        13.     The Training Fund is a multiemployer plan as that term is defined in ERISA and an

employee welfare benefit plan that provides training in the various machinery and processes

necessary to perform the job of operating engineer, which includes such things as the operation of

cranes, earth moving machines, bulldozers, backhoes, and other equipment. (ECF No. 1, ¶ 10;

App. 005-06 (Geiman Decl. ¶ 7)).

        14.     The Training Fund provides apprenticeship instruction to new entrants in the

industry, by which they progress to the rank of journey worker through the completion of a

combination of class work, practical skills acquisition, and required on-the-job training. (App. 005-

06 (Geiman Decl. ¶ 7)).

        15.     The Training Fund’s operations are governed by a Restated Agreement and

Declaration of Trust, its Apprenticeship Standards, training curriculum, and various policies and

procedures adopted by its Board of Trustees from time to time, as well as its Training Director and

Joint Apprenticeship Committee. (App. 005-06 (Geiman Decl. ¶ 7)).

        16.     Fund Office employees record the contributions payable to the Training Fund as

detailed in Paragraph 12 herein, which are then made available to the Training Fund for use in




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educating apprentices and journey workers in the craft of being an operating engineer. (App. 005-

06 (Geiman Decl. ¶ 7)).

       17.     The Pension, Welfare, Annuity, and Training Funds are each governed by a

separate Board of Trustees made up of an equal number of representatives by labor and

management as required by law. (App. 006 (Geiman Decl. ¶ 8)).

       18.     The Union Trustees are appointed by Local 4 and the Employer Trustees are

appointed by employer associations with whom Local 4 engages in collective bargaining, and the

Trustees receive no compensation from the Funds and each has a full time job working for entities

other than the Funds. (App. 005-06 (Geiman Decl. ¶ 7)).

       19.     The Funds are collectively administered by employees retained on behalf of the

Trustees to carry out their day-to-day operations, including the collection of employer

contributions, the crediting of hours worked by participants, determinations if eligibility for

benefits, and the payment of benefits and reasonable administrative expenses. (ECF No. 1, ¶ 11;

App. 002 (Geiman Decl. ¶ 2)).

       20.     The Fund Office employees are employed by the Welfare Fund, but perform work

for each of the Funds and other plaintiffs pursuant to the terms of an Amended Agreement to Share

Administrative Services and Office Space (“Shared Services Agreement”), which requires each

Fund to reimburse the Welfare Fund for its proportionate share of such services. (ECF No. 1, ¶ 11;

App. 006-07 (Geiman Decl. ¶ 9); App. 049-53 (Ex. 5)).

       21.     The Fund Office employees additionally provide services to Local 4, Local 4’s

Social Action Committee, and the Local 4 Labor Management Cooperation Trust Fund, which are

all charged their proportionate share of Funds Office services under the Shared Services

Agreement. (ECF No. 1, ¶ 12; App. 006 (Geiman Decl. ¶ 9); App. 050-52 (Ex. 5)).



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       22.     Fund Office employees work out of an office leased by the Funds from the Union

at 16 Trotter Drive, in Medway, Massachusetts 02053. (ECF No. 1, ¶ 13; App. 006 (Geiman Decl.

¶ 9); App. 050-52 (Ex. 5)).

       23.     The employees who work for the Funds are all employed by the Welfare Fund,

which issues their paychecks and W-2s, and provides their employee benefits. (App. 006 (Geiman

Decl. ¶ 9)).

       24.     There are typically about fifteen (15) full time employees employed by the Welfare

Fund, many of whom provide services to the other Funds but, by law, each Fund is required to pay

for its own expenses and must not subsidize the operations of the other affiliated Funds or related

entities. (App. 006 (Geiman Decl. ¶ 9)).

       25.     The Funds Office maintains normal business hours of 8:00 a.m. to 4:00 p.m., with

a one-hour lunch break. (ECF No. 1, ¶ 22; App. 067 (Ex. 6)).

       26.     The “Administrator” is appointed by the respective Boards of Trustees of the Funds

and serves as the chief executive officer in charge of the day-to-day operations of the Funds. (ECF

No. 1, ¶ 15; App. 002 (Geiman Decl. ¶ 2)).

       27.     The Administrator oversees all of the employees who are employed in the day-to-

day provision of benefits to the participants and beneficiaries of the Funds and directs and

supervises their activities on behalf of the Funds. (App. 002 (Geiman Decl. ¶ 2)).

       28.     The Administrator also serves as the main liaison between the Funds and the

various professionals retained by the Trustees to assist in their operations, including attorneys,

actuaries, consultants, and auditors. (App. 002 (Geiman Decl. ¶ 2)).

       29.     The Administrator also acts as the point of contact for the various service providers

retained by the Funds, be it investment managers, various health care providers such as insurers,



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pharmaceutical benefit managers, as well as dental, vision and hearing care provider organizations,

and others. (App. 002 (Geiman Decl. ¶ 2)).

       30.     The Trustees of each respective Fund meet quarterly (separately) to monitor Fund

operations and receive reports from the Administrator, professional advisers, and service

providers. (App. 006 (Geiman Decl. ¶ 8)).

       31.     The Administrator organizes the meetings, prepares the agendas for the meetings,

and provides and/or coordinates the provision of various reports regarding finances and other

matters of interest. (App. 006 (Geiman Decl. ¶ 8)).

       32.     The job of the Administrator is a demanding, full-time occupation. (App. 003

(Geiman Decl. ¶ 2)).

       33.     Defendant Alongi served as the Administrator for the Funds during the period 1996

through July 21, 2020. (ECF No. 1, ¶ 14; App. 138 (Ex. 9, p. 27)).

       34.     As Administrator for the Funds, Defendant Alongi was entrusted with overseeing

the day-to-day operations of the Funds in accordance with plan documents and policies adopted

by the Trustees, and for fulfilling the duties described in Paragraphs 27 through 32 herein. (ECF

No. 1, ¶ 15; App. 002-03 (Geiman Decl. ¶¶ 2, 3)).

       35.     Defendant Alongi testified as follows during her deposition in this matter:
               Q.      Okay. Is it correct to say the administrator is in charge of the day-
                       to-day operations of the fund?

               A.      Yes.

(App. 146 (Ex. 9, p. 9)).
       36.     During the period relevant to this matter, from January 1, 2015 through July 21,

2020, Defendant Alongi received a substantial annual compensation package from the Funds was




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worth in excess of $300,000 per year in all years. (ECF No. 1, ¶ 21; App. 013-14 (Geiman Decl. ¶

30)).

        37.    For her role as Administrator, Defendant Alongi was also compensated via four

weeks of paid vacation per year. (ECF No. 1, ¶ 21; App. 008 (Geiman Decl. ¶ 14); App. 070-71

(Ex. 6)).

II.     The DOL Audit During the Period 2003-2004 and the Shared Services Agreement
        38.    The Funds are subject to the legal and regulatory framework found in ERISA and

its attendant regulations, and are accordingly subject to periodic review of their operations by both

the Internal Revenue Service and the Department of Labor (“DOL”). (ECF No. 1, ¶ 18; App. 078-

81 (Ex. 7)).

        39.    The Employee Benefit Security Administration of the DOL, which shares oversight

of employee benefit plans like the Funds, along with the Internal Revenue Service, conducted an

audit of the Funds in 2003-2004. (ECF No. 1, ¶ 19; App. 007 (Geiman Decl. ¶ 10); App. 078-81

(Ex. 7)).

        40.    The audit conducted by the DOL during 2003-2004 investigated the Funds, all

Plaintiffs herein, to, inter alia, determine whether the Funds properly allocated time and expenses

among themselves and other non-ERISA covered entities related to Local 4. (App. 007 (Geiman

Decl. ¶ 10); App. 078-81 (Ex. 7)).

        41.    During the 2003-2004 audit, the DOL expressed dissatisfaction with the scheme by

which the collective Funds were allocating administrative costs, due to a fear that some of the

Funds were subsidizing the operations of others, and the Department determined that the method

the Funds used to allocate expenses – a retrospective time study – was insufficient. (App. 007

(Geiman Decl. ¶ 10); App. 078-81 (Ex. 7)).



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       42.     In that audit, the DOL uncovered a number of violations related to the

administration of the Funds and the allocation of administrative expenses, and it ultimately

determined that the Funds failed to properly allocate expenses for the cost of employee time spent

working on behalf of each of the Funds to the appropriate Fund. (App. 007 (Geiman Decl. ¶ 10);

App. 078-79 (Ex. 7)).

       43.     At the conclusion of the audit it conducted in 2003-2004, the DOL sent the Fund

Trustees and Defendant Alongi correspondence on September 16, 2004, in which the Department

ultimately ruled as follows:

       As I noted, Senior Investigator Roberta Muench has concluded her investigation of
       the Plan and of your activities as its Plan Administrator & Trustees. Based on the
       facts gathered during that investigation it appeared that, as Plan fiduciaries, you
       violated your fiduciary obligations to the Plan and violated several provisions of
       ERISA.

(App. 078 (Ex. 7)).

       44.     The findings and data resulting from these Agreed Upon Procedures conducted by

the certified public accountants at Schultheis & Panettieri LLP (“Audit”), which is detailed infra,

presented to the Boards of Trustees following Defendant Alongi’s termination neatly summarized

that DOL audit and the findings thereof as follows:

       In 2004, the former Fund Administrator received correspondence from the U.S.
       Department of Labor which stated that she (as Fund Administrator) and the
       Trustees had violated their fiduciary obligations for failure to properly allocate
       salaries and common expenses.

(App. 087 (Ex. 8)).

       45.     To resolve the 2003-2004 audit, the DOL required reforms to the manner in which

the Funds allocate shared expenses for, among other things, the cost of each employee. (ECF No.

1, ¶ 19; (App. 007 (Geiman Decl. ¶ 10); App. 078-81 (Ex. 7)).




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       46.     The DOL noted in the September 16, 2004 correspondence to Defendant Alongi

and certain Funds Trustees that “[t]he Department understands that the fiduciaries have taken

corrective action regarding the following issues,” which included the DOL’s finding that the Fund

Office failed to properly allocate salary and common expenses. (App. 078-79 (Ex. 7)).

       47.     In the September 16, 2004 correspondence, the DOL described one such “corrective

action” as follows:

       We understand that the Fund Office retained the firm of Manzi & Associates, CPA
       to conduct an independent time and function study of the operations of the Fund
       Office; resolved to update the time and function study at six month intervals to
       ensure that the allocation remains objective and accurate; adopted a formal
       Administrative Services Agreement and requested and received reimbursements
       from both the SAV an Fair Funds for administrative expenses for the period 1997
       to the date that the new time/function study allocation is implemented.

(App. 079 (Ex. 7)).

       48.     The DOL resolved the issues in the audit based on, among other things, an

agreement that time sheets would be kept by each Fund employee accounting for the work that

they were doing for any of the specific Funds and related entities throughout their workdays.

(App.007 (Geiman Decl. ¶ 10); App. 078-81 (Ex. 7); App. 049-53 (Ex. 5)).

       49.     As a result, it was agreed that all Fund employees would track their daily work for

each Fund for whom they provided services in order to assure that the allocation of costs between

the Funds was accurate and appropriate. (App. 007 (Geiman Decl. ¶ 10); App. 078-81 (Ex. 7);

App. 050-52 (Ex. 5)).

       50.     To that end, and to ensure the proper allocation of shared expenses among the Funds

and related entities, Defendant Alongi and counsel retained by the Funds negotiated an Agreement

to Share Administrative Services and Office Space with the DOL substantially similar to the




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Shared Services Agreement that remains in effect today. (App. 007 (Geiman Decl. ¶ 10); App.

078-81 (Ex. 7); App. 049-53 (Ex. 5)).

       51.     At all times relevant to this matter, the Shared Services Agreement negotiated with

the DOL and still in effect today requires each Funds employee to maintain contemporaneous time

records providing an allocation of the time they spend working on behalf of each Fund or Local 4

related entity throughout each day. (App.007 (Geiman Decl. ¶ 10); App. 078-79, 081 (Ex. 7); App.

050-52 (Ex. 5)).

       52.     During the audit process, Defendant Alongi was the primary representative of the

Funds in communications with the DOL and the outside professionals retained by the Funds to

resolve the audit. Regarding her involvement in the Department of Labor audit conducted during

the period 2003 – 2004, Defendant Alongi testified as follows:

               Q.      But from the a Local 4 funds perspective, you were the point person
                       on this, correct?

               A.      Yes.

(App. 149 (Ex. 9, p. 77)).

       53.     Defendant Alongi served as the Administrator for the Funds at the time that the

audit was conducted, was the primary representative of the Funds in communications with the

Department of Labor and the outside professionals retained by the Funds to resolve the audit, and

was well aware that this reform was agreed to with the DOL as a crucial aspect of the resolution

of that governmental audit. (ECF No. 1, ¶ 19; App. 007 (Geiman Decl. ¶ 11)).

       54.     Defendant Alongi testified that she was the Funds’ primary contact for the

Department of Labor during the 2003 – 2004 audit:

               Q.      (By Mr. Gilligan) In terms of, though, the interaction with the
                       Department of Labor investigator, who would speak to her on the
                       Local 4 funds behalf?

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               A.      Other than initially when this was going on, you know, when I was
                       dealing with her, I think what happened was she was interacting with
                       special counsel and Mary Sullivan directly.

               Q.      None of the trustees were interacting with her, were they?

               A.      No, not at all.

               Q.      And Laura-Jean wasn't interacting with them?

               A.      No.
(App. 147 (Ex. 9, p. 59-60)).
        55.    On July 25, 2003, Defendant Alongi wrote an email to the Funds’ former special

counsel Joyce Mader regarding the Department of Labor audit, and copied the Funds’ counsel and

the Funds’ former accountant. The subject line of the July 25, 2003 email was “Allocation

Adjustment,” and a document including a calculation of administrative expenses allocable to each

Funds and related entities serviced out of the Fund Office was attached thereto. (App. 163-65 (Ex.

10)).

        56.    In that July 25, 2003 email, Defendant Alongi wrote to former Funds’ special

counsel Joyce Made as follows:

        We finished our analysis of the admin allocation adjustment. Attached please find
        the results, before this is released to [DOL Investigator Roberta Muench] let’s talk
        about it.

        Robert was correct in her assumption on day 1 that the pension plan was owed
        100K. Sue will check with KPMG on whether we need to file amended 5500’s. we
        will get KPMG opinion in writing.

        Joyce does the DOL plan on assessing any penalties for the prohibited transaction?
        Also, what about excise tax that maybe due?

(App. 163 (Ex. 10)).

        57.    In a subsequent email on July 30, 2003, Defendant Alongi wrote to the Funds’

former special counsel Joyce Mader regarding the DOL audit, and copied the Funds’ counsel. The

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subject line of the email was “Allocation Calculations with Interest,” and a document including a

calculation of administrative expenses misallocated and owed to each of the Funds and related

entities serviced out of the Fund Office – with interest – during the years 1997 through 2002 was

attached thereto. (App. 167-74 (Ex. 11)).

       58.     The calculations, numbers, and totals in the “Allocation Calculations with Interest”

document are very specific, and many run to the second decimal point. (App. 167-74 (Ex. 11)).

       59.     In an email on July 31, 2003, Defendant Alongi wrote to the Funds’ former special

counsel Joyce Mader regarding the DOL audit, and copied the Funds’ counsel. The subject line of

the email was “Admin Calculations,” and a document including a calculation of administrative

expenses allocable to each of the Funds and related entities serviced out of the Fund Office was

attached thereto. (App. 176-80 (Ex. 12)).

       60.     The calculations, numbers, and totals in the “Admin Calculations” document

include calculations of the principal and interest due to various Funds from other Funds or related

entities serviced out of the Fund Office during the years 1997 – 2002. (App. 176-80 (Ex. 12)).

       61.     Again, the numbers are very specific and run to at least two decimal places and, as

Defendant Alongi notes in her cover email, the allocation numbers attributable to each Fund or

related entity change “considerably” based on a slight change in the rounding of the numbers,

much less a substantial change in the allocation. (App. 176 (Ex. 12)).

       62.     Regarding the level of specificity required of the DOL for administrative cost

allocations, Defendant Alongi testified as follows:

               Q.     If you look -- let's look at the very first -- where it indicates
                      "unrounded 47.11 percent"; does that look right to you?

               A.     Yes.




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               Q.      Okay. And was that something that Department of Labor was
                       insisting upon, that level of precision?

               A.      I believe so.

(App. 147 (Ex. 9, p. 57)).

       63.     On August 1, 2003, former special Funds’ counsel Joyce Mader wrote an email to

the Senior Investigator handling the DOL audit and, among other things, noted to her that:

               We will be providing you with the results of the reallocation for your
               review. Gina and Mary are concerned that the allocation does not
               take into account the considerable time spent on HIPAA compliance
               for the welfare fund. They want you to see and be comfortable with
               the results of the reallocation before the assets are transferred.

(App. 182 (Ex. 13)).

       64.     Regarding the August 1, 2003 email and the concern on her part that Ms. Mader

relayed to the DOL, Defendant Alongi testified as follows:

               Q.      Okay. There you go. I'd like to turn your attention to the third
                       paragraph of Ms. Mader's e-mail. And specifically, the second
                       sentence thereof. It says, "Gina and Mary are concerned that the
                       allocation does not take into account the considerable time spent on
                       HIPAA compliance for the welfare fund." Do you know what Ms.
                       Mader's alluding to there?

               A.      I don't. I can say that, you know, when HIPAA was enacted, you
                       know, there was a lot of correspondence that we had to send and
                       comply with for the health & welfare fund. So maybe, you know,
                       for that specific period of time that the allocation had to be tinkered
                       with for the health & welfare fund only.

               Q.      So you were concerned, is a fair assessment, you were concerned
                       about the possibility that the allocation for the welfare fund was
                       being skewed by regulatory activity like HIPAA compliance?

               A.      Yes. Any major change to one of the funds.

(App. 148 (Ex. 9, p. 61)).




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       65.     In an email on August 4, 2003, Defendant Alongi wrote to the Funds’ counsel and

cced the Funds’ former special counsel Joyce Mader regarding the DOL audit, and copied the

Funds’ counsel. The subject line of the email was “Outstanding Issues from DOL Audit,” and

among the issues Defendant Alongi lists as “outstanding,” the following topics are listed first and

second among a total of fourteen: “1. Admin Allocation (Manzi Time Study)” and “2. Adjustments

to Allocation (How often, Timesheets, Etc).” (App. 184-85 (Ex. 14)).

       66.     Defendant Alongi additionally testified that, following the DOL audit in 2003-

2004, time sheets were the method by which employee time or activity spent on behalf of a certain

Fund or related entity related to a new statue or enactment by the DOL or a regulatory agency:

               Q.      So it would directly correlate to how much employee activity was
                       generated by the given law or regulation?

               A.      Yes.

               Q.      Okay. And how would that be captured?

               A.      In the time sheets.

(App. 148 (Ex. 9, p. 62)).

       67.     An email from Defendant Alongi to the Funds’ counsels and former accountant on

December 29, 2003 circulated a timesheet for use in the Fund Office. Defendant Alongi described

the document as follows:

               Attached please find the proposed time sheet for implementation
               January 5, 2004 to record our employees time. I would appreciate
               your comments.

(sic) (App. 187 (Ex. 15)).

       68.     A document attached to the December 29, 2003 email from Defendant Alongi is

titled “Local 4 Fund Office Weekly Timesheet By Fund” and includes the following categories for




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Funds employees’ completion: “Name,” “Date,” “Time in .25 .50 .75 1,” “Brief Description,” and

“Enter code – ALL, HW, PEN, ANN, AT, CO, SAC, FAIR, DUES.” (App. 189 (Ex. 15)).

       69.     A second document attached to the December 29, 2003 email from Ms. Alongi is

titled “Proposed Time Sheet Solution Effective January 5, 2004.” (App. 190 (Ex. 15)).

       70.     The document titled “Proposed Time Sheet Solution Effective January 5, 2004”

which was attached to the email Defendant Alongi drafted and circulated to the Funds’ counsels

and former accountant provides that:

       Starting January 5, 2004, all employees that work on more than one fund must
       account for their time. To make this process east for the employee and to ensure we
       have accurate data to report to the auditors, the timesheets must be located in a
       central file.

(ECF No. 1, ¶ 27; App. 190; (Ex. 15)).

       71.     The document titled “Proposed Time Sheet Solution Effective January 5, 2004”

which was attached to the email Defendant Alongi drafted and circulated to the Funds’ counsels

and former accountant also includes recommendations regarding the implementation of the “Time

Sheet Solution” at the Funds Office. (App. 187-90; (Ex. 15)).

       72.     Defendant Alongi, while employed as Administrator, was a Fund employee and

was subject to the same policies as other Fund employees, including the obligation to track her

time so that the cost of her services could be appropriately allocated among the Funds, the Union,

Labor Management Cooperation Trust, and the Social Action Committee. (ECF No. 1, ¶ 20; App.

050-52 (Ex. 5); App. 063 (Ex. 6)).

       73.     As noted supra, the Shared Services Agreement sets forth the manner in which the

collective administrative expenses of the Fund Office are allocated, such that the expense of each

Fund employee is allocated among the entities who are part of this shared services arrangement.

(App. 006-07 (Geiman Decl. ¶ 9); App. 050-52 (Ex. 5); App. 063 (Ex. 6)).

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       74.     The Trustees of the various Funds and affiliated entities adopted the Shared

Services Agreement, which, as a result, constitutes a governing plan document for each of the

Funds. (App. 007 (Geiman Decl. ¶ 10); App. 049-58 (Ex. 5)).

       75.     Defendant Alongi, being deeply involved in the discussions with the DOL about

how to address these concerns, and was personally aware of the requirement in the Shared Services

Agreement that all individuals employed in the Fund office keep track of their time. (App. 007

(Geiman Decl. ¶ 11)).

       76.     The Shared Services Agreement has been amended from time to time, but the terms

relevant to this matter have remained unaltered and in full force and effect from the implementation

of the Agreement through Defendant Alongi’s termination. (App. 049-53 (Ex. 5); App. 063 (Ex.

6)).

       77.     The Shared Services Agreement requires all employees to keep track of their time

and, to the extent that they worked for Funds other than the Welfare Fund, to keep records of the

time they devoted to each specific Fund or “Organization” as the Agreement terms it. The Shared

Services Agreement provides, in part, that:

               The amount of staff time of employees of the Fund Office devoted
               to each Organization will be used as the basis for determining the
               allocable portion of general administrative expenses, staff salary,
               taxes and benefits, and common overhead expenses, including but
               not limited to office space, utilities, professional fees and computer
               costs. The Fund Office Staff will maintain records of the amount of
               salary during each pay period charged to each Organization be each
               employee of the Fund Office and the amount of time spent by Fund
               Office Staff who perform work for more than one Organization on
               the work performed for each organization.
                                                  …

               Each Organization will pay its respective share of shared
               administrative expenses on a monthly basis as provided in this
               Agreement.



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(ECF No. 1, ¶ 27; App. 050-51, 052 (Ex. 5)).

       78.     The Funds’ Employee Handbook also includes this requirement. It provides as

follows:

               All employees (exempt and non-exempt) that work under the
               jurisdiction of more than one (1) Fund must complete a weekly
               timesheet (located in the Funds Public Drive > TimeSheet) to be
               turned in every Friday by 4 p.m. Timesheets are used to break down
               employees’ hours (all hours, including overtime), spent on particular
               Funds. Employees with questions or concerns regarding this policy
               and procedure should consult with the Accounting Department.

(App. 063 (Ex. 6)) (emphasis added).

       79.     Defendant Alongi - like any other Fund employee - was required to personally

adhere to the Funds’ policies. Accordingly, Defendant Alongi was required to keep a daily time

sheet to track her time so the cost of her services could be appropriately allocated among the Funds,

the Union, the Labor Management Cooperation Trust, and the Social Action Committee. (App.

050-52 (Ex. 5); App. 063 (Ex. 6)). Regarding this issue, Defendant Alongi testified as follows:

       Q.      And am I correct, that it indicates there, under all employees, exempt or nonexempt,
               that work under the jurisdiction of more than one fund must complete a weekly
               time sheet located in the fund's public drive.

       A.      I see that.

       Q.      And that indicates all employees, correct?

       A.      Yes.

       Q.      Okay. And you were an employee of the Local 4 funds, correct?

       A.      Yes.

       Q.      And you were an employee who worked for more than one fund, correct?

       A.      Yes.

(App. 154 (Ex. 9, pp. 97-98)).



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       80.     Defendant Alongi failed to maintain accurate records of her working time despite

the requirements of the Shared Services Agreement and despite the fact that she provided at least

some services to each of the constituent Funds and related entities serviced in the Fund Office and

that a she was the highest paid, and hence, most expensive employee working for the Funds. (ECF

No. 1, ¶ 28; App. 008 (Geiman Decl. ¶ 13)).

       81.     In fact, there is no record in the Fund Office of Defendant Alongi ever keeping such

a time sheet, though Defendant Alongi testified under oath that she initially kept timesheets, only

to abandon the process at a time she could not specify, but which was prior to the time period

covered by this litigation. (App. 007 (Geiman Decl. ¶ 11); App. 155-57 (Ex. 9, pp. 106-17)).

       82.     As noted supra herein, each of the Funds is governed by the terms of its applicable

Trust Agreement. Each of the respective Trust Agreements, including that of the Welfare Fund,

the employer of the Fund Office employees, provides that any action by the Fund can only be

undertaken upon approval of a majority of the Trustees present at a meeting and that there must be

at least four Trustees voting in order to constitute a quorum to take binding action. (App. 007-08

(Geiman Decl. ¶ 12); App. 021-22 (Ex. 2); App. 032-33 (Ex. 3)).

       83.     At no time did a requisite quorum of Welfare Fund Trustees ever decide that

Defendant Alongi was exempt from the time keeping requirement of the Shared Services

Agreement. (App. 008 (Geiman Decl. ¶ 13)).

       84.     Accurate reporting of work performed on behalf of each Fund by each employee

through submission of the required timesheets, and the timesheets themselves, provide the basis

for the Funds to allocate expenses attributable to each specific Fund in accordance with the explicit

requirements of the Shared Services Agreement. (App. 050-52 (Ex. 5)).




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        85.    In accordance with the terms of the Shared Services Agreement, the allocations are

ultimately used to determine a total percentage allocation that applies to expense charges and

reimbursements for the next following year. (App. 050-52 (Ex. 5)).

        86.    Instead of filling out the required daily time sheets, Defendant Alongi simply

recycled from year to year earlier allocations of time that she had spent working for each Fund.

(ECF No. 1, ¶ 28; App. 210-12 (Ex. 18)).

III.    Defendant Alongi’s Termination and the Schultheis & Panettieri LLP Audit

        87.    The Massachusetts Coalition of Taft-Hartley Funds (“Coalition”) is an organization

consisting of multiemployer health and welfare funds in the New England region. (ECF No. 1, ¶

30; App. 008-09 (Geiman Decl. ¶ 16)).

        88.    The Coalition was organized to find ways to bring the combined purchasing power

of its member health plans in the hopes of securing more favorable terms from various health care

provider organizations – preferred provider organizations, health insurers, pharmaceutical benefit

managers (“PBM”), dental and vision care providers – to combat the increasing cost of funding

health care benefits to the unions’ memberships. (ECF No. 1, ¶ 30; App. 008-09 (Geiman Decl. ¶

16)).

        89.    The Coalition is financed by an annual level dues assessment paid by each of the

participating health and welfare plans on the basis of a monthly per capita assessment levied on

the basis of the number of covered participants in the respective member plans, as well as the

health vendors, consultants, and investment managers that also pay an annual assessment for

access to the Coalition. (ECF No. 1, ¶ 30; App. 008-09 (Geiman Decl. ¶ 16)).




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          90.   The Coalition is a tax-exempt entity under Section 501(c)(3) of the Internal

Revenue Code and is run by a Board of Directors and its Executive Director. (App. 008-09

(Geiman Decl. ¶ 16)).

          91.   It is not affiliated with or in any way related to the Welfare Fund or any of the other

Funds that are the Plaintiffs in the instant case; the only relationship between the Funds and the

Coalition is that for a period of time the Welfare Fund was a dues paying member. App. 008-09

(Geiman Decl. ¶ 16)).

          92.   Defendant Alongi served as the Executive Director of the Coalition during all times

relevant to this matter, 2015 through July 21, 2020. (ECF No. 1, ¶ 31; App. 138 (Ex. 9, p. 27)).

          93.   Coalition members may choose to adopt any of the Coalition negotiated

arrangements with the classes of providers above noted but are not compelled to do so. (App. 008-

09 (Geiman Decl. ¶ 16)).

          94.   Each of the Coalition’s participating plans’ Trustees have the responsibility to

decide whether such provider arrangements are in the best interests of their participants and

beneficiaries. (App. 008-09 (Geiman Decl. ¶ 16)).

          95.   Entitlement to participate in any of the Coalition negotiated arrangements is a

function of belonging to the Coalition, such that the Welfare Fund could have taken advantage of

any of the negotiated programs by virtue of its membership in the Coalition, not because Defendant

Alongi served as the Executive Director of the Coalition. (App. 008-09 (Geiman Decl. ¶ 16)).

          96.   After the Covid-19 pandemic took hold in March 2020, the Trustees closed the

Funds Office and allowed employees to work from home. (App. 192 (Ex. 16); App. 503 (Ex. 48,

p. 8)).




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       97.     By June of 2020, however, some of the Funds’ key employees returned to the office,

while others with significant health concerns, such as Defendant Alongi, were allowed to continue

working from home. (App. 503 (Ex. 48, p. 8)).

       98.     Although the employees were working at home, many employees fulfill time

sensitive functions such as tracking and allocating reports of participant hours worked generated

and submitted by employers to determine ongoing benefit eligibility, or determining whether a

participant or beneficiary is entitled to a certain pharmaceutical or medical benefit or coverage.

       99.     William McLaughlin, the Business Manager of Local 4 and Chairman of the

various Boards of Trustees, implemented a procedure in which all Fund employees were required

to keep a timesheet describing the work performed throughout the day. (App. 192 (Ex. 16); App.

503 (Ex. 48, p. 8)).

       100.    These timesheets, which were similar to but separate from the timesheets required

pursuant to the terms of the Shared Services Agreement and the Employee Handbook, were

submitted on a monthly basis to Assistant Administrator Greg Geiman for review. (App. 192 (Ex.

16); App. 503 (Ex. 48, p. 8)).

       101.    Due to her position as Administrator, however, Defendant Alongi’s timesheets

were submitted directly to Mr. McLaughlin to prevent her subordinate, Mr. Geiman, from having

to track his immediate supervisor’s productivity and work performance. (App. 192 (Ex. 16); App.

503 (Ex. 48, p. 8)).

       102.    In early July 2020, Defendant Alongi submitted her timesheets to Mr. McLaughlin.

He reviewed those timesheets and noted that in several entries Defendant Alongi logged work

performed either on behalf of the Coalition or with individuals whom Mr. McLaughlin did not




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recognize or knew to be individuals associated with benefit funds other than the Funds or the

Coalition. (App. 192 (Ex. 16); App. 503-04 (Ex. 48)).

       103.    Mr. McLaughlin was taken aback that the Funds Administrator was detailing work

performed on behalf of a third-party entity during the Funds’ regular business hours, and he asked

Mr. Geiman for clarification or more context. Mr. McLaughlin and Mr. Geiman also shared this

concern with Fund Counsel Kate Shea. (App. 192-93 (Ex. 16); App. 503-06 (Ex. 48)).

       104.    Mr. Geiman spoke with fellow Assistant Administrator Laura-Jean Hickey, who

served as Coalition Coordinator under Defendant Alongi’s supervision. In addition to providing

clarification on the amount of work that had been performed by herself and other Fund employees

during the workday, Ms. Hickey confirmed that Defendant Alongi had unilaterally promised a

$30,000 wellness credit that the Welfare Fund received from Blue Cross Blue Shield, for the

benefit of Local 4’s participants and beneficiaries, to the Coalition for use at its wellness fair. In

the end, the fair was cancelled due to Covid-19, and the promised transfer of the Fund’s asset to

the Coalition was never consummated. (App. 193 (Ex. 16); App. 507 (Ex. 48, p. 24)).

       105.    Attorney Shea opined that best course of action in determining how much Coalition

work Defendant Alongi performed during the workday would be to cross reference the entries of

concern with Defendant Alongi’s separate, DOL timesheets. When Rebecca Zaccardi, the Funds’

inhouse accountant, was asked for those timesheets, she advised Mr. Geiman that Defendant

Alongi did not keep or submit DOL timesheets. (App. 508-09 (Ex. 48, pp. 28-29); App. 007

(Geiman Decl. ¶ 11)).

       106.    This revelation set off a chain of events – the Trustees had to grapple with the fact

that the Funds’ chief executive had not been complying with an important policy, that Fund

resources and employee time had been improperly diverted to the Coalition, a stranger entity that



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was not compensating the Funds at all for the use of these resources, and that the Funds’ allocation

of shared expenses was now known to be inaccurate since the most highly compensated individual

working for the Funds had been revealed to have not kept required time records and was, in fact,

devoting a substantial amount of her time to an entity outside of the Local 4 family of benefit

Funds. (App. 192-95 (Ex. 16); App. 503-09 (Ex. 48)).

       107.    The revelations described in Paragraphs 102-106 were brought to the attention of

all of the Funds’ Trustees, all of whom were unaware that these things were occurring. (App. 192-

95 (Ex. 16); App. 503-510 (Ex. 48)).

       108.    On July 21, 2020, Special Meetings of the respective Boards of Trustees of the

Pension Fund, Health and Welfare Fund, and Annuity Fund were held, and the Boards voted

unanimously to terminate Defendant Alongi’s employment due to the egregious nature of the

failure to maintain DOL time sheets and the inappropriate and unauthorized diversion of Fund

assets to the Coalition. (ECF No. 1, ¶ 34; App. 192-95 (Ex. 16)).

       109.    The Trustees additionally engaged the accounting firm Schultheis & Panettieri LLP

to conduct the Audit of the time that Defendant Alongi was actively working during the period

January 1, 2015 through July 21, 2020 to determine the degree to which Defendant Alongi may

have damaged the Funds due to her failure to properly allocate her time and her diversion of plan

assets for the benefit of the Coalition. (App. 083-134 (Ex. 8)).

       110.    The Audit of Defendant Alongi’s work activities included a review of her arrival

times at the office by means of ascertaining when she entered the Fund Office via electronic key

fob, her email activity on her Fund-provided email account, and call activity on both her office

landline and Fund-provided cellular phone. (ECF No. 1, ¶ 34; App. 089, 127-31 (Ex. 8)).




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        111.   The Audit found that, at the Fund Office while Defendant Alongi served as

Administrator, there were “significant weaknesses in controls surrounding cost allocations to the

Coalition, where the former Fund Administrator also served as the Executive Director.” (App. 087

(Ex. 8)).

        112.   Based on the certified public accountants’ review of the documents and data in this

matter, as well as interviews with Funds employees, the Audit further determined as follows:

        We noted that it appears the Funds have an adequate system to track and request
        reimbursement for postage (for which identifying code is entered in the postage
        machine whenever mail is processed on behalf of the Coalition); however, the
        Funds do not have an adequate system to track labor, related taxes, and benefit costs
        incurred on behalf of the Coalition. In fact, timesheets were designed in a manner
        in which Fund Office employees were unable to allocate time to the Coalition.
        Furthermore, Fund Office employees were tacitly directed not to allocate time to
        the Coalition. Finally, the former Fund Administrator, whose allocation would be
        most significant and most sensitive, did not maintain a timesheet as required of all
        other employees.

(App. 087 (Ex. 8)).

        113.   The certified public accountants that conducted the Audit analyzed a number of sets

of data to determine whether Defendant Alongi’s work on behalf of the Coalition occurred during

regular Funds’ business hours without making that time up by working for the benefit of the Funds

outside of normal business hours:

        To evaluate if these efforts were performed during normal business hours (for
        which she received compensation and benefits from the Funds with no
        reimbursement from the Coalition) or outside of normal business hours, we
        analyzed incoming and outgoing calls from the former Fund Administrator’s office
        phone, entry times from the former Fund Administrator’s key fob noting time she
        entered the Fund Office, and cell phone calls from February 11, 2020 through July
        23, 2020. Based on the following analyses, it appears the former Fund
        Administrator worked significantly less than the required seven hours per day and
        performed her duties as Executive Director of the Coalition during the reduced
        hours she was at the Fund Office.

(App. 088 (Ex. 8)).



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       114.    The analysis by Schultheis & Panettieri LLP found that during the period January

1, 2015 through July 21, 2020, Defendant Alongi was seldom at the Funds office when it opened

at 8:00 a.m. and routinely arrived hours after the established start of the workday. (ECF No. 1, ¶

35; App. 089, 127-31 (Ex. 8)).

       115.    Defendant Alongi’s average arrival time to the Funds Office for the years in

question were as follows: 2015: 10:58 a.m.; 2016: a.m.; 2017: 10:28 a.m.; 2018: 9:55 a.m.; 2019:

9:50 a.m.; and 2020: 8:19 a.m. (ECF No. 1, ¶ 35; App. 089, 127-31 (Ex. 8)). A chart derived from

the Fund Office entry key data demonstrating Defendant Alongi’s arrival times is included in the

Audit. (ECF No. 4; App. 127-31 (Ex. 8)).

       116.    The forensic analysis of Defendant Alongi’s computer, emails, and land and

cellular phones shows that on the vast majority of days, her work activities ceased at or around

4:00 p.m. (ECF No. 1, ¶ 36; App. 088-89, 127-31 (Ex. 8)). A chart derived from Defendant

Alongi’s office phone data demonstrating and a chart derived from Defendant Alongi’s cell phone

data demonstrating this fact are included in the Audit. (ECF No. 4; App. 127-31 (Ex. 8)).

       117.    Further analysis of Defendant Alongi’s email and phone activity during the period

in question demonstrate that she performed little or no work during weekends or after normal

business hours during this time period. (ECF No. 1, ¶ 36; App. 088-89, 127-31 (Ex. 8)).

       118.    There were very few outgoing calls made from Defendant Alongi’s office phone

after 4:00 p.m. (ECF No. 1, ¶ 36; App. 089, 127-31 (Ex. 8)).

       119.    During the pandemic between March and July 2020, when Defendant Alongi did

not have access to her office phone, the vast majority of calls made after 4:00 p.m. on her work-

issued cell phone were to family or friends. (ECF No. 1, ¶ 37; App. 089, 127-31 (Ex. 8)).




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       120.    Over 95% of Defendant Alongi’s emails during the period January 1, 2015 through

July 21, 2020 were sent between the hours of 9:30 a.m. and 4:30 p.m. (ECF No. 1, ¶ 38; App. 089,

127-31 (Ex. 8)).

       121.    Of the emails referenced in Paragraph 120, many were personal and Coalition-

related emails sent from her Funds email account. (ECF No. 1, ¶ 38; App. 089, 127-31 (Ex. 8)).

       122.    Of the total 22,000 emails sent during the period January 1, 2015 through July 21,

2020, only 523 were sent prior to 9:30 a.m. (roughly 2% of the total), and of those 523, 348 were

sent in 2020 when she was largely working from home. (ECF No. 1, ¶ 38; App. 089, 127-31 (Ex.

8)).

       123.    Defendant Alongi’s email activity on weekends during the period January 1, 2015

through July 21, 2020 was even more scant, with only 69 emails sent, most of which appeared to

be personal in nature. (ECF No. 1, ¶ 38; App. 089, 127-31 (Ex. 8)).

       124.    If Defendant Alongi was performing ten (10) hours of work per week for the

Coalition as she reported under penalty of perjury on the Form 990s, Defendant Alongi was

spending in excess of 25% of her work time performing work for the Coalition rather than the

Funds. (ECF No. 1, ¶ 39; App. 197-208 (Ex. 17)).

       125.    Defendant Alongi unilaterally and in an ultra vires fashion diverted plan assets for

her own benefit and that of a party unrelated to the Funds by whom she was employed. (ECF No.

1, ¶ 40; App. 085-134 (Ex. 8); App. 197-208 (Ex. 17)).

IV.    Defendant Alongi’s Failure to Keep Timesheets Rendered the Funds’ Annual
       Expense Allocations Inaccurate, in Violation of Federal Law and the Funds’
       Governing Documents, Policies, and Procedures
       126.    The Shared Services Agreement provides that the Funds turn the data required to

calculate the allocation of expenses applicable to each Fund and entity – including employee

timesheets - over to their outside accountant on an annual basis. (App. 050-52 (Ex. 5)).

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       127.     The accountant calculates the amount of employee time spent working on each

Fund during a specific period in the preceding year, and attributes a percentage of each employee’s

work to each Fund for which that employee performed work. (App. 050-52 (Ex. 5)); App. 210-12

(Ex. 18)).

       128.     Those percentages are used to calculate the amount of the employees’ salaries that

will be paid by each respective Fund over a twelve-month period. (App. 050-52 (Ex. 5); App. 210-

12 (Ex. 18)).

       129.     For example, a time study conducted covering work performed during the months

September 2014 through November 2014 was used to calculate the employee expense allocations

for the period January 2015 through December 2015. (App. 050-52 (Ex. 5); App. 210-12 (Ex. 18)).

       130.     The shared expenses allocations are extremely specific, running to four decimal

places. (App. 210-12 (Ex. 18)).

       131.     The shared expenses allocations for each and every Fund employee – with the

exception of Defendant Alongi – applicable to each requisite Fund or entity experience shifts from

year to year during the years 2015, 2016, and 2017 down to the fourth decimal point. (App. 210-

12 (Ex. 18)).

       132.     Every Funds employees’ percentage allocation – save Defendant Alongi’s – is

derived from each respective employee’s daily timesheets. (App. 156 (Ex. 9, p. 115); App. 050-52

(Ex. 5); App. 063 (Ex. 6); App. 210-12 (Ex. 18)).

       133.     During the years 2015 through 2019 however, Defendant Alongi’s shared expenses

allocations remained exactly the same, save in 2016, when 10.0000% of her time was reallocated

from the Health Fund to the Pension Fund. (App. 210-12 (Ex. 18)).




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        134.   Accordingly, Defendant Alongi’s shared expenses allocation percentage of work

on behalf of seven separate entities – down to the fourth decimal point – remained exactly the same

in 2016 and 2017, with one exception for 2015. (App. 210-12 (Ex. 18)).

        135.   Upon further investigation after Defendant Alongi’s work on behalf of the Coalition

during regular Fund Office business hours came to light, it was determined that Defendant Alongi

simply directed the Funds’ inhouse accountant to advise Manzi & Associates, the Funds’ outside

accountant responsible for producing the allocation, that her time allocation had not changed

because her duties vis a vis each of the Funds remained consistent. (App. 156-57 (Ex. 9, pp. 116-

20)).

        136.   Defendant Alongi, the most highly compensated Funds employee, by far – was

having her services and compensation attributable to one Fund subsidized by another. (App. 049-

52 (Ex. 5); App. 063 (Ex. 6); App. 210-12 (Ex. 18)).

        137.   Defendant Alongi’s supposed allocations to each of the Funds and related entities

for work performed during the period 2015 through 2017 were as follows:

Year    H&W        Pension      Annuity      A&T         Coop       SAC         Dues       Total
2015    29.0000%   48.7776%     12.4667%     4.3686%     4.2457%    0.0440%     1.0974%    100.0000%
2016    19.000%    58.7776%     12.4667%     3.0919%     4.2457%    0.4440%     1.0974%    100.0000%
2017    19.0000%   58.7776%     12.4667%     3.0919%     4.2457%    0.440%      1.9741%    100.0000%

(App. 210-12 (Ex. 18)).

        138.   Defendant Alongi testified that these allocations were in fact accurate, because the

tasks she performed on behalf of these Funds and entities resulted in her performing the exact same

number of hours of work for each of those Funds and entities – to the fourth decimal point – year

in and year out. (App. 150-54 (Ex. 9, pp. 82-98)).




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       139.    Defendant Alongi testified that she did not spend one hour more working on matters

for the Health Fund in the years following the passage of the Affordable Care Act and its

implementing regulations than she had in prior years. (App. 150-54 (Ex. 9, pp. 82-98)).

       140.    Defendant Alongi finalized and executed the Forms 5500 on behalf of the Funds,

thereby averring to the federal government these false allocations. (App. 025 (Ex. 2)).

V.     Defendant Alongi’s Work for the Coalition
       141.    During 2019, the last year for which a Form 990 for the Coalition was publicly

available at the time the Complaint in this matter was filed, Defendant Alongi was paid $46,000

per year for her work for the Coalition, and she reported and averred that she performed ten hours

of work per week in return for this compensation. (ECF No. 1, ¶ 31; App. 197-208 (Ex. 17)).

       142.    All Form 990s dating back to at least 2013 contain this same report and averment

that she worked ten hours per week for the Coalition. (ECF No. 1, ¶ 31; App. 197-208 (Ex. 17)).

       143.    Defendant Alongi was regularly performing work for the Coalition during the

Funds’ standard workday of 8:00 a.m. to 4:00 p.m., a period of time for which she was supposed

to be working for the sole and exclusive benefit of the Funds and their participants and

beneficiaries and for which she was receiving total compensation in excess of $300,000 per year.

(ECF No. 1, ¶ 33; App. 087-89 (Ex. 8)).

       144.    During the time Defendant Alongi served as the Executive Director of the

Coalition, she was party to a series of employment contracts titled “Agreement Executive Director

Massachusetts Coalition of Taft-Hartley Trust Funds, Inc.” (App. 214-224 (Ex. 19)).

       145.    The Agreement executed in October 2012 defines Defendant Alongi’s

responsibilities as the Executive Director. They include the following:

       a.      Prepare an agenda of the meetings of the Executive Board and Regular
               Meeting;


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       b.      Advise the members of the Coalition of legislation, events and issues of
               importance to them;

       d.      To educate legislative and executive federal and state governments on
               matters of importance to the Coalition members;

       e.      Arrange for the schedule of speakers to discuss topics of interest to
               Coalition members;

       f.      Represent the Coalition on all matters requested by the Executive Board;

       g.      Maintain the records of the Coalition;

       h.      File require reports with regulatory agencies;

       i.      To develop and propose better methods of providing and paying for health
               care, including investigation of possible arrangements with providers and
               other groups with a view to negotiating favorable rats for the Coalition
               members for such provider services or insurance and evaluate and develop
               the same for defined benefit and defined contribution plans.

(App. 221 (Ex. 19)) (sic).

       146.    Emails and other evidence reviewed by Schultheis & Panetierri LLP and produced

in discovery in this matter establish that the work Defendant Alongi routinely performed on behalf

of the Coalition included Defendant Alongi travelling to and from and attending Coalition general

membership and Executive Board meetings. (App. 226-29 (Ex. 20)). The Audit established that

Defendant Alongi did not take paid time off from the Funds when she was engaged in travel for

the Coalition, thereby getting paid by both organizations at the same time. (App. 085-90 (Ex. 8)).

       147.    Emails and other evidence reviewed by Schultheis & Panetierri LLP and produced

in discovery in this matter establish that the work Defendant Alongi routinely performed on behalf

of the Coalition included Defendant Alongi scheduling and participating in telephone conferences

and in-person meetings with Coalition members, prospective members, and vendors during Fund

Office business hours, utilizing Fund Office resources. (App. 231-49 (Ex. 21)). The emails

attached hereto are just a portion of the emails uncovered by Schultheis & Panetierri LLP and

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produced in discovery in this matter which evidence Defendant Alongi’s actions outlined in this

Paragraph.

       148.       Emails and other evidence reviewed by Schultheis & Panetierri LLP and produced

in discovery in this matter establish that the work Defendant Alongi routinely performed on behalf

of the Coalition included Defendant Alongi reviewing documents, correspondence, and memos on

behalf of the Coalition. (App. 251-84 (Ex. 22)). In several of the attached emails, Defendant Alongi

forwards information, tasks, or work to Ms. Hickey for completion. (App. 251, 253, 260, 262, 276,

282-84 (Ex. 22)). In one attached email, Defendant Alongi also forwards Coalition work to Fund

Office employee Rebecca Zaccardi for completion. (App. 281 (Ex. 22)). The emails attached

hereto are just a portion of the emails uncovered by Schultheis & Panetierri LLP and produced in

discovery in this matter which evidence Defendant Alongi’s actions outlined in this Paragraph.

       149.       Emails and other evidence reviewed by Schultheis & Panetierri LLP and produced

in discovery in this matter establish that the work Defendant Alongi routinely performed on behalf

of the Coalition included Defendant Alongi participating in discussions and implementing various

surveys of Coalition members and vendors. (App. 286-87 (Ex. 23); App. 402-06 (Ex. 35)). The

emails attached hereto are just a portion of the emails uncovered by Schultheis & Panetierri LLP

and produced in discovery in this matter which evidence Defendant Alongi’s actions outlined in

this Paragraph.

       150.       Emails and other evidence reviewed by Schultheis & Panetierri LLP and produced

in discovery in this matter establish that the work Defendant Alongi routinely performed on behalf

of the Coalition included Defendant Alongi actively seeking out new Coalition members and

collecting membership applications and fees from so-called associate members and entities,

particularly investment management firms, that performed services within the universe of Taft-



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Hartley benefit funds and were promised access to fund administrators conditioned upon their

payment of associate member dues to the Coalition. (App. 289-318 (Ex. 24)). The emails attached

hereto are just a portion of the emails uncovered by Schultheis & Panetierri LLP and produced in

discovery in this matter which evidence Defendant Alongi’s actions outlined in this Paragraph,

and these emails also include illustrative examples of Defendant Alongi directing Ms. Hickey to

perform work on behalf of the Coalition. The individual email chains are marked due to their use

in depositions in this matter. (App. 289-318 (Ex. 24)).

       151.    The Audit found that Defendant Alongi sent these emails and performed this work

on behalf of the Coalition utilizing the Funds’ resources during Fund Office normal business hours:

       Our analysis also revealed numerous emails during that time with a subject line
       referencing the Coalition, a very large majority of which occurred during times
       when the former Fund Administrator was receiving compensation from the Funds.

(App. 089 (Ex. 8)).

       152.    Defendant Alongi has throughout these proceedings attempted to justify her

unilateral diversion of Funds-financed resources for the benefit of the Coalition based on the

erroneous premise that the Welfare Fund received substantial benefits by means of the various

Coalition-negotiated arrangements for which she takes sole credit. (App. 321-24 (Ex. 25); App.

010 (Geiman Decl. ¶ 21)).

       153.    The Funds received no more benefit from Defendant Alongi serving as Executive

Director of the Coalition than they would have received had she simply been an unpaid participant

at the Coalition’s meetings because the Fund was entitled to receive any such benefits by virtue of

its membership in the Coalition and the payment of its dues thereto. (ECF No. 1, ¶ 32; App. 010

(Geiman Decl. ¶ 22)).




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          154.   All other Coalition member funds were able to receive these benefits without

having to make similar commitments of their personnel and resources. (App. 010 (Geiman Decl.

¶ 22)).

          155.   It has been many years since the Funds derived any discernible pecuniary benefit

from the Coalition’s agreements as the Welfare Fund ceased using many of the Coalition’s

preferred vendors and products. (ECF No. 1, ¶ 32; App. 010 (Geiman Decl. ¶ 21)).

          156.   More crucially, for the entirety of the time period relevant to this lawsuit, the

Welfare Fund did not use the Coalition sponsored Union Blue insurance product touted by the

Defendant in various filings with the Court as justifying her diversion of Fund resources; that

product was discontinued by the Funds in 2014, at Defendant Alongi’s recommendation, because

it was cost prohibitive. (App. 010-11 (Geiman Decl. ¶ 23)).

          157.   After the Funds discontinued the Union Blue insurance product in 2014, the

Welfare Fund had its own arrangement with Blue Cross Blue Shield of Massachusetts to provide

medical, surgical, and hospitalization benefits to its participants. (App. 010-11 (Geiman Decl. ¶

23)).

          158.   Moreover, at no time has the Welfare Fund used the pharmaceutical benefit

manager arrangement negotiated by the Coalition to furnish prescription drug benefits to its

participants, opting instead to obtain such coverage via an arrangement initially negotiated by the

International Union of Operating Engineers, AFL-CIO, the parent union of IUOE Local 4. (App.

010-11 (Geiman Decl. ¶ 23)).

          159.   The arrangements outlined in Paragraphs 155-158 -- the provision of medical,

surgical, and hospitalization costs and for those associated with the cost of providing prescription




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drugs – account for nearly all benefit costs borne by the Welfare Fund. (App. 010-11 (Geiman

Decl. ¶ 23)).

       160.     In 2016, the Welfare Fund had total claims expenses of $44,296,420, which were

comprised of the following:

   o $33,530,710, were attributable to the medical, surgical, and hospitalization benefits
     provided through its own arrangement with Blue Cross Blue Shield;

   o $6,971,162 in prescription drug claims paid through its PBM;

   o $2,886,054 in dental claims;

   o $364,243 for vision benefit;

   o $44,200 for hearing benefits; and

   o $429,651 for disability and death benefit claims.

(App. 011 (Geiman Decl. ¶ 24)).

       161.     Of all of the classes of claims outlined in Paragraph 160, the only ones for which

the Welfare Fund participants received coverage via a Coalition-negotiated provider was for vision

and hearing. (App. 011 (Geiman Decl. ¶ 24)).

       162.     Thus, such Coalition-negotiated benefit providers were responsible for the payment

of just 0.92% of the Fund’s overall claims costs in 2016. (App. 011 (Geiman Decl. ¶ 24)).

       163.     In 2017, the Welfare Fund had total claims expenses of $53,032,811, which were

comprised of the following:

   o $41,233,554, were attributable to the medical, surgical, and hospitalization benefits
     provided through its own arrangement with Blue Cross Blue Shield;

   o $7,510,098 in prescription drug claims paid through its PBM;

   o $3,360,207 in dental claims;

   o $380,228 for vision benefits;


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   o $16,536 for hearing benefits; and

   o $465,423 for disability and death benefit claims.

(App. 011-12 (Geiman Decl. ¶ 25)).

        164.   Of all of these classes of claims outlined in Paragraph 163, the only ones for which

the Welfare Fund participants received coverage via a Coalition-negotiated provider was for vision

and hearing. (App. 011-12 (Geiman Decl. ¶ 25)).

        165.   Thus, such Coalition-negotiated benefit providers were responsible for the payment

of just 0.75% of the Welfare Fund’s overall claims costs in 2017. (App. 011-12 (Geiman Decl. ¶

25)).

        166.   In 2018, the Welfare Fund had total claims expenses of $57,346,599, which were

comprised of the following:

   o $44,989,792, were attributable to the medical, surgical, and hospitalization benefits
     provided through its own arrangement with Blue Cross Blue Shield;

   o $7,304,380 in prescription drug claims paid through its PBM;

   o $3,402,358 in dental claims;

   o $375,885 for vision benefits;

   o $48,194 for hearing benefits; and

   o $480,703 for disability and death benefit claims.

(App. 012 (Geiman Decl. ¶ 26)).

        167.   Of all of these classes of claims, the only ones for which the Welfare Fund

participant received coverage via a Coalition-negotiated provider was for vision and hearing. (App.

012 (Geiman Decl. ¶ 26)).

        168.   Thus, such Coalition-negotiated benefit providers were responsible for the payment

of just 0.74% of the Fund’s overall claims costs in 2018. (App. 012 (Geiman Decl. ¶ 26)).

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       169.     In 2019, the Welfare Fund had total claims expenses of $53,230,171, which were

comprised of the following:

       o $43,332,746, were attributable to the medical, surgical, and hospitalization
         benefits provided through its own arrangement with Blue Cross Blue Shield;

       o $5,381,702 in prescription drug claims paid through its PBM;

       o $2,563,721 in dental claims;

       o $395,697 for vision benefits;

       o $27,297 for hearing benefits; and

       o $503,408 for disability and death benefit claims.

(App. 012-13 (Geiman Decl. ¶ 27)).

       170.     Of all of these classes of claims, the only ones for which the Welfare Fund

participants received coverage via a Coalition-negotiated provider was for vision and hearing.

(App. 012-13 (Geiman Decl. ¶ 27)).

       171.     Thus, such Coalition-negotiated benefit providers were responsible for the payment

of just 0.79% of the Fund’s overall claims costs in 2019. (App. 012-13 (Geiman Decl. ¶ 27)).

       172.     In her Answers to the Plaintiffs’ Interrogatories, Defendant Alongi, at Answer No.

8, listed a number of projects that she claimed “provided direct savings to Coalition members,

including the Funds….” (App. 321-24 (Ex. 25); App. 013 (Geiman Decl. ¶ 29)).

       173.     Of the projects listed at Answer No. 8 for the relevant time period, only one item

was negotiated through the Coalition and inured to the benefit of the Funds – a $.30 per member

per month administrative fee reduction in 2015-2017. (App. 321-24 (Ex. 25); App. 013 (Geiman

Decl. ¶ 29)).

       174.     In real dollars, that would represent a savings to the Funds of approximately

$10,000 (3,000 participants x 12 months x $.30) each year. (App. 013 (Geiman Decl. ¶ 29)).

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       175.    In the years 2016-2019, the Funds paid Defendant Alongi a total average

compensation costs per year of cost per year of $338,658, which was comprised of the following

averages:

            o An average salary of $242,000;

            o Contributions to two different defined benefit pension plans for her at an
              average cost each year of $31,815;

            o Contributed to a defined contribution pension plan for her at a cost each
              year of $15,080;

            o Fully employer-paid health insurance at a cost each year of $10,400; and

            o An employer-provided Cadillac Escalade, and later a fully-loaded Ford
              Explorer, at an average cost each year of $39,363.

(ECF No. 1, ¶ 21; App. 013-14 (Geiman Decl. ¶ 30)).

       176.    Thus, just the diversion of 3 percent of Defendant Alongi’s time for the Funds to

the Coalition would wipe out any of these purported savings she allegedly delivered by her work

for the Coalition. (App. 013-14 (Geiman Decl. ¶ 30)).

       177.    In her Answers to the Plaintiffs’ Interrogatories, Defendant Alongi additionally

asserts that she was engaged in other Coalition activities that somehow benefitted the Funds. (App.

321-24 (Ex. 25); App. 014-15 (Geiman Decl. ¶ 34)).

       178.    In February 2015, Defendant Alongi was involved in a time-consuming project

(that was thus expensive for the Funds) with the New York Health Care Alliance on its PBM

project that in no way affected the Funds’ relationship with its PBM through the IUOE. (App. 321-

24 (Ex. 25); App. 014-15 (Geiman Decl. ¶ 34)).

       179.    The March 8, 2017 bundled product discount that Defendant Alongi cites in her

Answers to the Plaintiffs’ Interrogatories was provided by Blue Cross to the Funds directly and

had nothing to do with the Coalition. (App. 321-24 (Ex. 25); App. 014-15 (Geiman Decl. ¶ 34)).

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       180.    Her assertion that the Fund received its prescription drug benefits through Blue

Cross is incorrect. (App. 321-24 (Ex. 25); App. 014-15 (Geiman Decl. ¶ 34)).

       181.    The claimed emerging solutions “discounts” from September 8, 2018 and June 20,

2019 that Defendant Alongi cites in her Answers to the Plaintiffs’ Interrogatories were in fact

additional costs to the Fund for health solutions that were sold to Defendant Alongi, and then

presented by her to the Coalition, that largely ended as expensive failures for the Welfare Fund.

(App. 321-24 (Ex. 25); App. 014-15 (Geiman Decl. ¶ 34)).

       182.    Of the four programs listed in Defendant Alongi’s Answers to Interrogatories, the

Fund only maintains a relationship to this day with Hinge Health. (App. 321-24 (Ex. 25); App.

014-15 (Geiman Decl. ¶ 34)).

       183.    The Welfare Fund ceased being a Coalition member as of December 31, 2020.

(App. 008-09 (Geiman Decl. ¶ 16)).

       184.    In 2021 the Welfare Fund terminated its relationship with the Coalition-negotiated

vision provider and entered a new relationship with a different provider that resulted in an

equivalent cost to the Fund and a much larger network of vision care centers for the participants

and beneficiaries to use. (App. 013 (Geiman Decl. ¶ 28)).

       185.    A new hearing provider was retained in 2022, resulting in a cost savings to the Fund

and the same level of benefits for participants and beneficiaries. (App. 013 (Geiman Decl. ¶ 28)).

       186.    The Pension, Annuity, and Training Funds, all of which share costs with the

Welfare Fund, received no benefit whatsoever from paying for employees to work for the

Coalition. (App. 010-11 (Geiman Decl. ¶ 23)).

VI.    Defendant Alongi’s Direction of Certain Funds Office Staff to Work for the
       Coalition




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       187.    Defendant Alongi directed Fund employees to perform work and provide services

to the Coalition while being compensated by the Funds, while working within the Funds Office,

using Fund resources and equipment. (ECF No. 1, ¶ 45; App. 087-89 (Ex. 8)).

       188.    Interviews with Fund employees conducted by certified public accountants at

Schultheis & Panetierri LLP and an analysis by the auditors of how these employees spent their

time show that a substantial portion of the Funds’ payroll expenses were in fact diverted to the

benefit of the Coalition. (ECF No. 1, ¶ 47; App. 088-89 (Ex. 8)).

       189.    All such work done on behalf of the Coalition was at the behest of and direction of

Defendant Alongi, not at the direction of the Funds’ Trustees. (App. 014 (Geiman Decl. ¶ 33);

App. 231-32, 234, 241 (Ex. 21); App. 251, 253, 260, 262, 276, 281, 282-84 (Ex. 22); App. 286-87

(Ex. 23); App. 289-318 (Ex. 24)).

       190.    The Funds received no compensation for the use of its personnel for Coalition

business. (App. 088-90 (Ex. 8); App. 008-09 (Geiman Decl. ¶ 16)).

       191.    In the Audit, the certified public accountants at Schultheis & Panettieri, LLP found

as follows regarding this issue:

       Based on our interviews and analysis of Fund Office employees; email, it is
       apparent that the Coalition’s operations were tightly integrated with the Fund Office
       and many of the Fund Office employees performed duties for the Coalition with no
       reimbursement. It appears Fund Office employees’ Coalition efforts increased
       gradually to 2020, at which time significant Fund Office resources were being
       directed to the Coalition’s inaugural “Wellness Fair” for which no time was tracked,
       allocated, or invoiced to the Coalition.

(App. 088 (Ex. 8)).

       192.    In addition to Defendant Alongi directing Funds staff to perform work for the

Coalition during normal business hours, she further directed Laura-Jean Hickey, the Funds’

Assistant Administrator, to do the same and participate in directing Funds staff to perform work



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for the Coalition during normal business hours. (App. 014 (Geiman Decl. ¶ 33); App. 231-32, 234,

241 (Ex. 21); App. 251, 253, 260, 262, 276, 282-84 (Ex. 22); App. 286-87 (Ex. 23); App. 289-318

(Ex. 24); App. 326 (Ex. 26)).

       193.    Defendant Alongi, as Administrator, had the authority to hire, fire, promote, and

demote Fund office employees. (App. 139 (Ex. 9, pp. 77-78)).

       194.    Defendant Alongi testified that during her tenure as Administrator she

recommended the allocation of wage or salary raises to specific Funds office employees at her

discretion. (App. 140 (Ex. 9, p. 99)).

       195.    The Audit determined that a substantial portion of the Funds’ overall payroll

expenses were diverted for the benefit of the Coalition; the Audit concluded as follows:

       We reviewed hundreds of emails documenting Coalition work performed by
       various persons during normal Fund Office business hours. Work performed
       included scheduling and planning all Coalition events and meetings, preparing all
       meeting materials, performing surveys on behalf of the Coalition, maintaining the
       books and records of the Coalition, maintaining the Coalition’s website and
       continuously updating service provider and membership data, and orchestrating the
       inaugural Wellness Fair. Additionally, we interviewed several Fund Office
       employees who validated our findings.

(App. 089 (Ex. 8)).

       196.    The following Fund Office employees provided services to the Coalition at

Defendant Alongi’s direction and devoted the noted estimated percentage of their time to such

activities during the time covered by the Audit, rather than for the sole benefit of the Funds, their

participants and beneficiaries, during the Funds’ regular business hours, utilizing the Funds’

resources: Rosemarie Alongi: 30%; Laura Jean Hickey: 30%; Taylor Ryan: 38%; Rosemary

Ortega: 12.5%; Bettyann Trefry: 4%; Terri Berardi: 1%; Amy Boisvert: 1%; Rebecca Zaccardi:

1%. (ECF No. 1, ¶ 48; App. 088-89, 132-33 (Ex. 8)).




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       197.    Notwithstanding the fact that all Fund Office employees were required to track how

they spent their workdays on time sheets, no records were kept of time devoted to Coalition work

during normal business hours at the explicit or implicit direction of Defendant Alongi. (App. 087

(Ex. 8); App. 010 (Geiman Decl. ¶ 20)).

       198.    As a result, the Funds have had to try to reconstruct the economic losses suffered

by them resulting from this impermissible use of its personnel. (App. 084-90, 132-33 (Ex. 8); App.

010 (Geiman Decl. ¶ 20)).

       199.    Rosemarie Alongi, Defendant Alongi’s twin sister, worked in the Funds’ IT

Department. (App. 088 (Ex. 8)).

       200.    Emails reviewed by Schultheis & Panettieri, LLP and produced in discovery in this

matter establish that Rosemarie Alongi routinely updated and maintained the Coalition’s website

during the Funds’ regular business hours, utilizing the Funds’ resources, while being paid by the

Funds. (App. 088 (Ex. 8)).

       201.    In the Audit, the certified public accountants at Schultheis & Panettieri, LLP

uncovered the following:

        During our analysis of documents included in emails, we noted monthly payments
       of $500 from the Coalition to ‘Alongi Associates’ for ‘Web Maintenance’ and
       noted correspondence indicating these services were performed during normal
       business hours. During our interviews, we verified that these were, in fact,
       payments to Rosemarie Alongi for IT services which appear to have been
       performed during normal business hours for which she received compensation and
       benefits from the Funds with no reimbursement from the Coalition.

(App. 088 (Ex. 8)).

       202.    In January 2015, Rosemarie Alongi designed the Coalition’s website utilizing Fund

resources. (App. 328 (Ex. 27)). Rosemarie Alongi, from her Funds provided email account,




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emailed an image of the Coalition’s website to Defendant Alongi on her own Funds provided email

account at 3:10 p.m. on Thursday, January 15, 2015. (App. 328 (Ex. 27)).

       203.    In the subject line of that email, Rosemarie Alongi asks Defendant Alongi: “do you

like it so far?” (App. 328 (Ex. 27)).

       204.    Defendant Alongi subsequently replied that the Coalition’s website designed by

Funds employee Rosemarie Alongi, which was sent to her during Funds Office regular business

hours from a Funds provided email account “Looks good”. (App. 328 (Ex. 27)).

       205.    Significant numbers of subsequent emails that demonstrate Rosemarie’s

performance of work on behalf of the Coalition during the Funds’ regular business hours – along

with contemporaneous DOL timesheets concealing that work – were uncovered by the Audit and

in discovery in this matter. The work Rosemarie Alongi performed for the Coalition during the

Funds’ regular business hours and utilizing the Funds’ resources included maintaining and

updating the Coalition’s website and adding new members, events, or announcements. (App. 330-

49 (Ex. 28)). The emails attached hereto are just a portion of the emails uncovered by Schultheis

& Panetierri LLP and produced in discovery in this matter which evidence Rosemarie Alongi’s

actions outlined in this Paragraph. The individual email chains, and accompanying DOL

timesheets that result in calculation of a full day’s work but do not include reference to or a time

deduction for the work performed for the Coalition, are marked due to their use in depositions in

this matter. (App. 330-49 (Ex. 28)).

       206.    Notably, Rosemarie Alongi never listed time worked on behalf of the Coalition on

the timesheets she was required to keep in accordance with the Shared Services Agreement and

the Funds’ Employee Handbook, despite the fact that emails establish that she was performing that

work during the Funds’ normal business hours. (App. 330-49 (Ex. 28)).



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       207.      Emails reviewed by Schultheis & Panettieri, LLP and produced in discovery in this

matter further established that, at Defendant Alongi’s direction, Rosemarie applied pressure on

prospective IT service providers to join the Coalition and submit membership fees during the

Funds’ regular business hours and utilizing the Funds’ resources. (App. 351-60 (Ex. 29)). The

individual email chains are marked due to their use in depositions in this matter.

       208.      The Senior Director of CMIT Solutions, an IT service provider, emailed Defendant

Alongi and, after noting that CMIT Solutions had “been active with members of the Coalition

ensuring their IT Infrastructure support for workstation, servers, and more,” asserted that she

wanted to “circle back with you specifically to see if perhaps it is timely for Local 4 to look at

CMIT’s IT support for your infrastructure.” (App. 352 (Ex. 29)).

       209.      To that end, the Senior Director of CMIT Solutions asks “[m]ight there be an

opportunity to schedule a call to check in on your current needs?” (App. 352 (Ex. 29)).

       210.      In response, Defendant Alongi forwarded the email to Rosemarie Alongi, and asked

Rosemarie whether she “[w]ould be willing to call her?” (App. 352 (Ex. 29)).

       211.      Rosemarie responded that she would do so, but she noted that “the services they

offer we already have in place throughout the infrastructure.” (App. 353 (Ex. 29)).

       212.      Nonetheless, and without providing any basis or detail, Defendant Alongi

responded to Rosemarie Alongi as thus: “She’s very nice. Maybe you can meet with her.” (App.

353 (Ex. 29)).

       213.      During the period prior to and for about a year following August 24, 2018, a

company named Rapid 7 provided IT services to the Funds. On Friday, August 24, 2018, at 1:40

p.m., Rosemarie Alongi sent an email form her Funds provided email account to Rapid 7 and

conveyed the following information and request:



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       Gina asked me if Rapid 7 would have interest in becoming an associate member
       with the Mass. Coalition. There is an opening to present in September at the
       Carpenters Union and it would be a great opportunity for Rapid 7 to pick up some
       other Fund Offices.

       The cost is 1500 annually –> [hyperlink provided]

       More information –> [hyperlink provided]

       Let me know asap if you have interest so Gina can schedule you for the meeting.

(App. 356 (Ex. 29)).

       214.   Later that same day, an individual from Rapid 7 responded to Rosemarie Alongi’s

email as follows:

       Thanks for passing this along! That’s an impressive list of associate members. I
       sent this information to my Director and will let you know if it’s something that we
       can do.

(App. 356 (Ex. 29)).

       215.   The same individual from Rapid 7 sent a follow up email in which he observed and

asked the following:

       There are a ton of really good names on the list of members. Question for you (and
       maybe Gina/Greg?) – if we were to present our Managed Detection & Response
       service to thar audience, would it be interesting/impactful to them? Typically what
       title of folks attend those meetings? (ie CEO, CFO, CISO, CTO, General Counsel
       etc).

(App. 355 (Ex. 29)).

       216.   Rosemarie Alongi subsequently emailed Defendant Alongi on Monday, August 27,

2018 at 10:03 a.m. from her Funds provided email account and asked: “Did you respond to [the

individual from Rapid 7]?” Defendant Alongi responded that same day, Monday, August 27, 2018

at 10:59 a.m. – from her Funds provided email account via iPhone – and said, “[n]ot yet can we

call him?” (App. 355 (Ex. 29)).




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       217.    Rosemarie Alongi responded, again from her Funds provided email account during

the Funds’ regular working hours, that “I would send him an email and ask to see that time he is

available.” (App. 354 (Ex. 29)).

       218.    Defendant Alongi responded shortly thereafter, again during the Funds’ normal

business hours and from her Funds provided email account, this time on a computer, and instructed

Rosemarie Alongi to do so herself. She wrote: “Can you see if he’s available at 11:30”. (sic) (App.

354 (Ex. 29)). Rosemarie complied with Defendant Alongi’s directive. (App. 354 (Ex. 29)).

       219.    Rosemarie Alongi emailed the individual from Rapid 7 that same day, during the

Funds’ normal business hours and from her Funds provided email account, and asked whether the

individual was “available for at 11:30 for a quick call with Gina?” (App. 358 (Ex. 29)). The

individual from Rapid 7 responded that he was unavailable at the requested time, but that he could

be available later that same week for a telephone conference with Defendant Alongi. (App. 358

(Ex. 29)).

       220.    Rosemarie Alongi responded to that email as follows:

       Let me check with Gina regarding Wednesday. By the way, I received an invoice
       from Rapid 7 today and they charged us tax on the invoice. I sent an email to the
       person it came from and he said he would make an adjustment and never received
       another invoice?

(App. 358 (Ex. 29)).

       221.    On Friday, September 7, 2018 at 2:00 p.m., Rosemarie Alongi sent the same

individual from Rapid 7 an email during the Funds’ normal business hours, utilizing her Funds

provided email account. The subject line of the email was “Follow up” and Rosemarie’s email

read: “Gina asked me if I heard from you regarding the Coalition she is trying to finalize the

agenda.” (App. 360 (Ex. 29)). On September 11, 2018 at 11:42 a.m., Rosemarie Alongi sent the

same individual from Rapid 7 an email during the Funds’ normal business hours, utilizing her

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Funds provided email account. The email forwarded the previously sent September 7, 2018 email

and provided the following in bold:

       Good morning!

       I hope you are doing well [emoji] can you please respond to the below email so we
       know if Rapid 7 has interest.

       Thank you.

(sic) (App. 359 (Ex. 29)).

       222.    The individual from Rapid 7 sent a responsive email shortly thereafter on that same

day, and advised Rosemarie Alongi as follows:

       Hi Rosemarie – thanks for reaching out! I spoke with my management and
       unfortunately our marketing dollars have already been spent for the year. They’ve
       made a note to try to include it in next years budget.

(sic) (App. 359 (Ex. 29)).

       223.    Rosemarie Alongi responded to the same individual from Rapid 7 during the Funds’

normal business hours, utilizing her Funds provided email account, and notified the individual that

she would “inform Gina so she can finalize the agenda.” (App. 359 (Ex. 29)).

       224.    Laura-Jean Hickey served as Assistant Administrator of the Funds under Ms.

Alongi. In addition to working for the Funds, Ms. Hickey served as “Coordinator” for the Coalition

at Defendant Alongi’s request. (App. 158 (Ex. 9, pp. 130-31)).

       225.    For serving as Coordinator, Ms. Hickey received compensation at a rate of $25 to

$30 per hour during the period January 1, 2015 through July 21, 2020, and was required to

complete all work assigned by Defendant Alongi, while being instructed to not to exceed twenty

hours of work per month. (App. 088 (Ex. 8)).

       226.    Defendant Alongi, as Executive Director of the Coalition, was fully aware of the

work Ms. Hickey was performing and, as her immediate supervisor, she was further aware that

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Ms. Hickey was performing work on behalf of the Coalition at the Funds office during regular

business hours, and she was directing her to do so. (App. 014 (Geiman Decl. ¶ 33); App. 231-32,

234, 241 (Ex. 21); App. 251, 253, 260, 262, 276, 282-84 (Ex. 22); App. 286-87 (Ex. 23); App.

289-318 (Ex. 24)). Defendant Alongi admitted in sworn testimony that she assigned Ms. Hickey

the work she performed on behalf of the Coalition:

       Q.         Did you maintain the records of the coalition; did you do that?

       A.         Laura-Jean did that.

       Q.         Laura-Jean did that. Did the coalition have an agreement with Laura-Jean?

       A.         No.

       Q.         So is it fair to say, you’re the one who assigned that work to Laura-Jean?

       A.         Yes.

(App. 158 (Ex. 9, pp. 130-31)).

       227.       Ms. Hickey advised the certified public accountants at Schultheis & Panettieri LLP

conducting the Audit that, although she “used her best efforts to make up any time performing

Coalition duties during lunch and before or after normal business hours (8:00AM to 4:00PM) she

estimated that 30% of her efforts for the Coalition occurred during normal business hours for which

she received compensation and benefits from the Funds.” (App. 088 (Ex. 8)).

       228.       The work Defendant Alongi directed Ms. Hickey to perform on behalf of the

Coalition included drafting, reviewing, and finalizing Coalition meeting and event agendas and

organizing and maintaining various Coalition documents and materials. (App. 362-70 (Ex. 30)).

The emails attached hereto are just a portion of the emails uncovered by Schultheis & Panetierri

LLP and produced in discovery in this matter which evidence Ms. Hickey’s actions outlined in

this Paragraph.



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       229.    The work Defendant Alongi directed Ms. Hickey to perform on behalf of the

Coalition included coordinating surveys among Coalition members and vendors. (App. 372 (Ex.

31)). The email attached hereto is just an example of the emails uncovered by Schultheis &

Panetierri LLP and produced in discovery in this matter which evidence Ms. Hickey’s actions

outlined in this Paragraph.

       230.    The work Defendant Alongi directed Ms. Hickey to perform on behalf of the

Coalition included scheduling and facilitating telephone conferences during regular business hours

with Coalition members, prospective members, and service providers. (App. 374 (Ex. 32)). The

email attached hereto is just an example of the emails uncovered by Schultheis & Panetierri LLP

and produced in discovery in this matter which evidence Ms. Hickey’s actions outlined in this

Paragraph.

       231.    The work Defendant Alongi directed Ms. Hickey to perform on behalf of the

Coalition included contacting event vendors and prospective venues and generally planning and

attending Coalition events, Wellness Fairs, and holiday parties. (App. 376-94 (Ex. 33)). The emails

attached hereto are just a portion of the emails uncovered by Schultheis & Panetierri LLP and

produced in discovery in this matter which evidence Ms. Hickey’s actions outlined in this

Paragraph.

       232.    The work Defendant Alongi directed Ms. Hickey to perform on behalf of the

Coalition included Ms. Hickey’s directing other Funds employees to perform administrative work

on behalf of the Coalition. (App. 326 (Ex. 26)). The email attached hereto is just an example of

the emails uncovered by Schultheis & Panetierri LLP and produced in discovery in this matter

which evidence Ms. Hickey’s actions outlined in this Paragraph.




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       233.     Although Ms. Hickey served as the Coalition “Coordinator” at Defendant Alongi’s

request, unlike Defendant Alongi, Ms. Hickey did not have a written agreement or contract with

the Coalition. (App. 214-24 (Ex. 19); App. 158 (Ex. 9, pp. 130-31)).

       234.     Ms. Hickey is not a party to any contract with the Coalition, and no document places

responsibility for these tasks on her shoulders. (App. 214-24 (Ex. 19)).

       235.     Responsibility for completing the work on behalf of the Coalition listed in the

“Agreement Executive Director Massachusetts Coalition of Taft-Hartley Trust Funds, Inc.”

started, stopped, and ended with Defendant Alongi. (App. 221-23 (Ex. 19); App. 158 (Ex. 9, pp.

130-31)).

       236.     Funds employee Taylor Ryan was tasked with seeking and analyzing product

information from various vendors and rental services for purposes of preparing for Coalition events

and the Coalition’s Health Fair and with tracking address and contact information for, and sending

various communications to, Coalition members and service providers on behalf of the Coalition.

(App. 396-400 (Ex. 34)). Additionally, Defendant Alongi assigns Coalition work to Ms. Ryan by

forwarding the same to Ms. Ryan, without comment or a subject line in the email, and Ms. Ryan

completes the same. (App. 396-400 (Ex. 34)). The emails attached hereto are just a portion of the

emails uncovered by Schultheis & Panetierri LLP and produced in discovery in this matter which

evidence Ms. Ryan’s actions outlined in this Paragraph.

       237.     In addition to routinely providing administrative services for the Coalition as

described above, Ms. Ryan was also tasked comprehensive, time-consuming projects. (App. 402-

16 (Ex. 35)).

       238.     Ms. Ryan was instructed to review the zip codes for thousands of participants and

beneficiaries of other New England multiemployer fringe benefit funds for purposes of advising



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the appropriate members of Congress regarding a lobbying effort undertaken by the Coalition that

participants and beneficiaries of Coalition member funds could be adversely impacted by proposed

regulations pending before the federal government. (App. 402-16 (Ex. 35)). The hundreds of pages

of .excel data including thousands of zip codes are omitted for ease of reference, but pertinent

emails and an example of the format of the zip code data are included in the attached Appendix at

Exhibit 35. (App. 402-16 (Ex. 35)).

       239.    The emails establish that Ms. Ryan was reviewing thousands of zip codes and

compiling data regarding the same for separate multiemployer fringe benefit funds affiliated with

the following local unions located in New England: the “Massachusetts Laborers”, Local Union

223, affiliated with the International Brotherhood of Electrical Workers, and a local union

affiliated with the “Iron Workers” during the Funds’ regular business hours, utilizing the Funds’

resources. (App. 402-16 (Ex. 35)).

       240.    As Ms. Ryan testified during deposition testimony, this “Zip Code Project” was “a

big thing ... [l]ike a big time-consuming project.” (App. 420 (Ex. 36, p. 148)).

       241.    Ms. Ryan testified as follows regarding the amount of time she worked on behalf

of the Coalition on the Funds’ time, utilizing Funds resources:

       A.      I've told you as much as I remember. I remember doing a spreadsheet
               performing some tasks pertaining to ZIP codes while at Local 4.

       Q.      Do you remember how long it took?

       A.      A very long time.

       Q.      More than a day?

       A.      Yes.

       Q.      More than a week?

       A.      Probably.

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        Q.     More than a month?

        A.     Maybe. I don't remember.

        Q.     But it took more than a week?

        A.     Yes.

(App. 420 (Ex. 36, p. 145)).

        242.   All of this work occurred during time that Ms. Ryan was being paid by the Funds,

to perform work on behalf of the Funds. (App. 402-16 (Ex. 35); App. 420 (Ex. 36)).

        243.   Funds employee Rosemary Ortega was tasked with purchasing materials on behalf

of the Coalition at Defendant Alongi’s direction, during the Funds’ normal business hours, while

being paid to work for the Funds. (App. 422-33 (Ex. 37)).

        244.   Ms. Ortega was also tasked with reviewing, compiling, organizing, preparing

binders of materials for Coalition meetings and mailings at Defendant Alongi’s direction, during

the Funds’ normal business hours, while being paid to work for the Funds. (App. 422-33 (Ex. 37)).

        245.   Ms. Ortega was also tasked with leaving the Fund office during the Funds’ normal

business hours to pick up and arrange lunches required for Coalition meetings. (App. 425 (Ex.

37)).

        246.   Ms. Ortega was also tasked with inputting Coalition tasks, meetings, and events

into Defendant Alongi’s calendar during the Funds’ normal business hours, while being paid to

work for the Funds. (App. 422-33 (Ex. 37)).

        247.   This work on behalf of the Coalition was performed at Defendant Alongi’s

direction and with her knowledge. (App. 326 (Ex. 26)).




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       248.    On June 9, 2015, Ms. Hickey sent an email to the Coalition’s “Scholarship

Committee Members,” which included Defendant Alongi, and forward a number of documents

related to scholarship applications received by the Coalition. (App. 326 (Ex. 26)).

       249.    Defendant Alongi replied to Ms. Hickey on Wednesday, June 17, 2015 at 11:17

a.m., during the Funds’ normal business hours, and instructed as follows:

               Can you have Rosemary print all the scholarships for me to read this
               evening.

               Thank you.

(sic) (App. 326 (Ex. 26)).

       250.    Ms. Hickey responded as follows:

       I’ll have Terri do it since Rosemary is on book duty. You’ll have a binder made up
       for your reading pleasure!

(App. 326 (Ex. 26)).

       251.    When Ms. Ortega was presented with exhibit after exhibit demonstrating the

frequency of her work on behalf of the Coalition, she testified as follows when asked “[w]ell,

sitting here today, would you say that your performed a lot of work for Laura-Jean as assigned by

Gina?”:

       A.      Well, sir, I didn’t initially. But now after seeing all these emails, yes, I did.

       Q.      So Gina is ultimately assigning this Coalition work?

       A.      I think that she is dealing with Laura-Jean to get the work done, and Laura-
               Jean is dealing with me to help her get the work done.

       Q.      Based on the e-mails, you would say that Gina was aware of that, wouldn't
               you?

       A.      Yes.

(App. 438 (Ex. 38, p. 159)).



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VII.      Cashing Out Vacation Time without Authorization by Trustees

          252.   The terms and conditions of employment of Fund employees are set forth in the

Welfare Fund’s Employee Handbook, which, among other things, delineates the amount of paid

vacation to which employees, including the Fund Administrator, are entitled. (App. 070-71 (Ex.

6); App. 008 (Geiman Decl. ¶ 14)).

          253.   As part of her compensation package, Defendant Alongi was permitted to take four

weeks of paid vacation each year. (ECF No. 1, ¶ 53; App. 070-71 (Ex. 6); App. 008 (Geiman Decl.

¶ 14)).

          254.   Pursuant to the Funds’ Employee Handbook, four weeks of paid vacation

constitutes the “maximum vacation time allowable.” (ECF No. 1, ¶ 53; App. 071 (Ex. 6)).

          255.   Starting in 2013, unbeknownst to the Trustees and without proper approval from

them, Defendant Alongi began taking an additional two weeks of vacation over and above the

allotment of four to which she was entitled. (ECF No. 1, ¶ 54; App. 085-86, 096-98 (Ex. 8)).

          256.   During the period January 1, 2015 through July 21, 2020, Defendant Alongi

engaged in a practice of cashing out this additional two weeks of vacation in the middle of the

year, in effect, awarding herself, in a unilateral and ultra vires fashion, an extra two weeks of

salary. (ECF No. 1, ¶ 55; App. 085-86, 096-98 (Ex. 8)).

          257.   In the Audit, the certified public accountants at Schultheis & Panettieri LLP

uncovered that “[c]ommencing in 2013, the former Fund Administrator received an additional two

weeks’ vacation per year for which we were unable to obtain documented Trustee approval.” (App.

085-86 (Ex. 8)).

          258.   During the period January 1, 2015 through July 21, 2020, Defendant Alongi

engaged in the practice of “cashing out” this additional two weeks of vacation in the middle of



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the year, in effect awarding herself, in an ultra vires fashion, an extra two weeks of salary. In the

Audit, the certified public accountants at Schultheis & Panettieri LLP determined as follows:

       The Fund Office Employee Handbook states that unused vacation days will be
       bought back annually. From 2015 through 2020, we noted ten (10) instances where
       partial vacation buyouts to the former Fund Administrator and her sister were paid
       during the year, rather than at the end of the calendar year when other Fund office
       employees’ vacation buyouts were processed. It is our understanding that these
       payments were directed by the former Fund Administrator and only the former
       Fund Administrator and her sister were granted this opportunity.

(App. 085-86 (Ex. 8)).

       259.    In 2015, 2017, 2018, 2019, and 2020, Defendant Alongi received an additional 80

hours each year, of compensation in this fashion. (ECF No. 1, ¶ 56; App. 085-86, 096-98 (Ex. 8)).

       260.    In 2016, Defendant Alongi received an additional 64 hours of compensation in this

fashion. (ECF No. 1, ¶ 56; App. 085-86, 096-98 (Ex. 8)).

       261.    Defendant Alongi ordered Fund Office staff to issue her a check for these vacation

hours without withholding for taxes in each of the years 2015, 2016, 2017, 2018, 2019, and 2020

at a total cost to the Funds of $49,849.20. (ECF No. 1, ¶ 57; App. 085-86, 096-98 (Ex. 8)).

       262.    John J. Shaughnessy, Jr., a former management Trustee of the Health and Welfare,

Pension, and Annuity & Savings Funds executed an Affidavit in support of Defendant Alongi in

which he asserted that “[i]n or around 2013, I specifically recall that then Business Manager Lou

Rasetta and I approve an additional two weeks of vacation time for Ms. Alongi to use or cash out

annually.” (App. 440 (Ex. 39)).

       263.    Former Union Business Manager and Chairman of the Boards of Trustees Louis

Rasetta executed a substantially similar Affidavit in which he claimed that “[i]n or around 2013, I

suggested giving Defendant Alongi an additional two weeks of vacation time to use or cash out




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annually because of her dedication, work ethic and her performance as Administrator for the

Funds.” (App. 443-45 (Ex. 40)).

       264.    Both Mr. Rasetta and Defendant Alongi admitted in deposition testimony that,

during a period of disputed or uncertain length prior to 2013, they engaged in a sexual relationship.

(App. 161 (Ex. 9, pp. 71-72); App. 449-50 (Ex. 41, pp. 36-37)).

       265.    Mr. Shaughnessy testified under oath that he was not aware of the fact that Mr.

Rasetta and Defendant Alongi engaged in a sexual relationship. (App. 457 (Ex. 42, 67-68)).

       266.    The Health Fund Trust Agreement, the document that serves to establish and govern

the Welfare Fund, provides, in pertinent part, as follows:

       Section 4.1 The Fund shall be administrated by a Board of Trustees which shall
       consist of three (3) trustees designated by the Union and three (3) trustees
       designated by the Association (one (1) by each Employer Organization).

       Section 5.1 The Board of Trustees shall have the power to administer the Fund and
       to administer and maintain the Health and Welfare Plan in effect, having and
       performing all powers and duties reasonably necessary to maintain and operate the
       Plan in such a way to accomplish its objectives.

       Section 5.8 (C) Without limitation of the provisions of Section 5.1 of this Article,
       the Board of Trustees shall have the power: [t]o employ such executive, consultant,
       actuarial, administrative, clerical, secretarial and legal counsel (who may be
       counsel for the Union, Association or Employer) and other employees and
       assistants, as may be necessary in connection with the administration of the Fund
       and the Plan and to pay or cause to be paid, out of the Fund, the compensation and
       necessary expenses of such personnel and assistants and the cost of office space,
       furnishing and supplies and other essentials required in such administration.

       Section 6.2 The Board shall keep Minutes of all meetings but such minutes need
       not be verbatim. Copies of the minutes shall be sent to all Trustees.

       Section 6.3 To constitute a quorum for the transaction of business not less than two
       (2) Employer Trustees and two (2) Union Trustees shall be present in person. The
       Board shall not take any action or make any decision on any matter coming before
       it or presented to it for consideration or exercise any power or right given or reserve
       to it or conferred upon it by this Trust Agreement except upon the concurrence of
       at least two (2) Union Trustees and two (2) Employer Trustees.



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(App. 027-33 (Ex. 3)).
       267.    Thus, at least four (4) Trustees are required to constitute a quorum, and Trustees

are forbidden from “tak[ing] any action or mak[ing] any decision on any matter coming before it

or presented to it for consideration” without such a quorum. (App. 027-33 (Ex. 3)).

       268.    Despite his written testimony in his Affidavit, Mr. Rasetta testified under oath that

he unilaterally granted this unearned compensation to Defendant Alongi, and that the

compensation was granted on a one-time basis in 2013:

       Q.:     So it wasn't in lieu of cash. She was given two weeks vacation. She could
               either take two extra weeks of vacation that she could either take as vacation
               or take as cash, right?

       A.:     Right.

       Q.:     You didn't seek any board approval for doing that?

       A.:     No.

       Q.:     And you didn't discuss that with anyone else?

       A.:     No.

       Q.:     So she just started getting an extra two weeks of vacation?

       A.:     One two-week vacation.

       Q.:     Just in the year 2013?

       A.:     Yes.

(App. 451 (Ex. 41, p. 154)).

       269.    Mr. Shaughnessy testified under oath in his deposition that the Board of Trustees

were never presented with, and never approved, this grant of additional compensation to Defendant

Alongi. (App. 455-56 (Ex. 42)).




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       270.     A review of Fund records shows no action by a required quorum of Trustees to

approve paid vacation in excess of the aforementioned four-week allotment provided for in the

Employee Handbook. (App. 008 (Geiman Decl. ¶ 15)).

       271.     Defendant Alongi subsequently cashed out this unearned and unapproved

compensation on a subsequent annual basis. (App. 085-86, 096-98 (Ex. 8); App. 008 (Geiman

Decl. ¶ 15)).

       272.     Defendant Alongi knew the amounts were not approved by the Trustees, and she

exercised discretionary control over the Funds’ assets when she instructed Funds’ staff to issue the

untimely payments in violation of the Funds’ Employee Handbook, as well as untimely vacation

buyout payments to her twin sister Rosemarie. (App. 070-71 (Ex. 6); App. 085-86, 096-98 (Ex.

8)).

VIII. Defendant Alongi’s Failure to Work Hours for Which She was Compensated
       273.     As befits a highly compensated executive, the Trustees hired Defendant Alongi to

be a full-time employee and to be present at the Fund office and devote at least 35 hours per week

to overseeing the operations of the Funds and to supervise its employees in the performance of

their tasks for the participants and beneficiaries of the Funds. (ECF No. 1, ¶ 61; App. 146 (Ex. 9,

p. 12); App. 002 (Geiman Decl. ¶ 2)).

       274.     The respective Boards of Trustees employed Defendant Alongi to be a full-time

employee and to be present at the Funds office to oversee the operations of the Funds and to

supervise the Funds employees in the performance of their tasks for the participants and

beneficiaries. (App. 002 (Geiman Decl. ¶ 2)). Defendant Alongi testified as follows during her

deposition:

       Q.       Would you say, though, that you, as the administrator, were ultimately responsible
                for the work of all the employees?


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        A.      Ultimately, yes.

(App. 146 (Ex. 9, p. 10)).

        275.    The Audit conducted by Schultheis & Panettieri LLP shows that, in addition to the

time impermissibly spent on Coalition business, Defendant Alongi routinely failed to work

anything like a full-time schedule during the period January 1, 2015 through December 31, 2019.

(ECF No. 1, ¶ 62; App. 089, 127-31 (Ex. 8)).

        276.    Only after the Chairman of the Boards of Trustees directed Defendant Alongi to be

in the office by the start of the business day in January 2020, did Defendant Alongi commence

working closer to full days for the Funds. (ECF No. 1, ¶ 62; App. 089, 127-31 (Ex. 8); App. 143

(Ex. 9, p. 183)).

        277.    The Funds’ Employee Handbook provides that “[t]he regular working hours of the

Funds Office are 8:00 a.m. – 4:00 p.m.” (App. 067 (Ex. 6)).

        278.    As established in Paragraph 115 herein, Defendant Alongi routinely arrived to work

hours after the Funds’ 8:00 AM business hours commenced. (ECF No. 1, ¶ 63; App. 089, 127-31

(Ex. 8)).

        279.    In the Audit, the certified public accountants at Schultheis & Panettieri LLP

uncovered that “[t]here is no record of the former Fund Administrator entering the Fund Office

prior to 8:00AM from 2015 through 2019.” (App. 089, 127-31 (Ex. 8)).

        280.    Defendant Alongi did not make up for this late arrival by either working past the

closing time of 4:00 p.m. or on weekends; all records indicate that she simply worked an

abbreviated day on top of performing the ten (10) hours of work for the Coalition during the week.

(ECF No. 1, ¶ 64; App. 089, 127-31 (Ex. 8)).




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       281.    The Audit conducted by Schultheis & Panettieri LLP provides that during the

period January 1, 2015 through December 31, 2019, Defendant Alongi worked substantially less

than a seven (7) hour day. (ECF No. 1, ¶ 65; App. 089, 127-31 (Ex. 8)).

       282.    Instead, Defendant Alongi worked an average of the following hours per day,

during the requisite years listed below: 2015: 5.25; 2016: 5.5; 2017: 5.75; 2018: 6.25; 2019: 6.25.

(ECF No. 1, ¶ 65; App. 089, 127-31 (Ex. 8)).

       283.    The total hours per day outlined in Paragraph 274 include the two (2) hours per day

that Defendant Alongi averred, under penalty of perjury in the Form 990s, to have worked for the

Coalition during those years. (ECF No. 1, ¶ 65; App. 089, 127-31 (Ex. 8); App. 197-208 (Ex. 17)).

       284.    Defendant Alongi deprived the Funds of their reasonably expected hours of service,

leading to her being substantially overpaid for the limited time that she actually spent on her job

as Administrator. (ECF No. 1, ¶ 66; App. 089-135 (Ex. 8)).

       285.    By virtue of so doing, Defendant Alongi received excess compensation in the

amount of $282,152 during the period January 1, 2015 through December 31, 2019. (ECF No. 1,

¶ 67; App. App. 089-135 (Ex. 8)).

       286.    Former Funds employee Jennifer Vachon signed an Affidavit in support of

Defendant Alongi in which she provided that she would:

       [T]ypically arrive at the office around 7 a.m. My office was located near the center
       of the main office space (and near Gina’s office). I witnessed Gina arrive at the
       office approximately 9:15 on a regular basis. I would frequently open the Funds
       door for Gina when she arrived because she had her arms full.

(App. 460 (Ex. 43)).

       287.    9:15 a.m. is one and a quarter hour after the commencement of the Funds’ regular

business hours and the time at which the Fund Office opened for business. (App. 067 (Ex. 6)).




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        288.   When asked during deposition testimony, however, Ms. Vachon testified as

follows:

        Q.:    Okay. What do you mean by, "frequently"?

        A.:    If I was going to the ladies' room and I saw her coming to the door, I would
               let her in.

        Q.:    Okay. How often did that occur that you happened to be passing by the door
               and Gina was coming in at the same time so you'd let her in?

        A.     I'd say four times a year.

(App. 465 (Ex. 44, p. 77)).

        289.   Ms. Vachon further testified that she only saw Defendant Alongi enter the office,

at most, two times per week. (App. 464 (Ex. 44, p. 76)).

        290.   Former Funds employee Jennifer Dow also signed an Affidavit in support of

Defendant Alongi, in which Ms. Dow provided that she:

        [T]ypically arrived at the office around 7 am. On most mornings, I observed Gina
        Alongi arrive at the office around 9:15 am. Jennifer Vachon, Rosemary Ortega, and
        I would each routinely open the door for her on a because she often arrived carrying
        briefcases, boxes, or other work materials.

(sic) (App. 467 (Ex. 45)).

        291.   When asked during deposition testimony, however, Ms. Dow testified that she may

have opened the door for Defendant Alongi a handful of times throughout Ms. Dow’s years of

employment at the Funds Office, and that she and other Funds employees did that for any number

of individuals – not just Defendant Alongi. (App. 472 (Ex. 46, pp. 81-83)).

        292.   Ms. Dow further testified during her deposition testimony that she never saw Ms.

Alongi “arrive[] carrying briefcases, boxes, or other work materials.” (App. 474 (Ex. 46, pp. 90-

92)).

        293.   Instead, Ms. Dow testified as follows:
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       Q.:     Okay. So just based on what you were observing. So Gina Alongi comes in
               and you – you didn't ever assist her with carrying things?

       A.:     No.

       Q.:     And you said it didn't ever appear that she needed assistance carrying things;
               is that right?

       A.:     That's correct.

(App. 474 (Ex. 46, p. 92)).

       294.    The certified public accountants at Schultheis & Panetierri LLP that conducted the

Audit found that Defendant Alongi did not work hours on behalf of the Funds at home during the

mornings or evenings or over the weekends to make up for this lost time:

       For the period September 2016 through July 2020, incoming and outgoing calls to
       and from the former Fund Administrator’s office phone were commonly between
       the hours of 9:30AM and 4:00PM until January 2020 at which time they occurred
       between 8:00AM and 4:00PM.

(App. 089 (Ex. 8)).

       295.    The certified public accountants at Schultheis & Panetierri LLP had access to

Defendant Alongi’s cell phone data in the roughly six-month period prior to her termination, and

a review of that data uncovered that very few business calls were made to or from Defendant

Alongi’s cell phone, and that “a large majority of business calls made and received by the former

Fund Administrator were most commonly during normal business hours.” (App. 089 (Ex. 8)).

       296.    The certified public accountants at Schultheis & Panetierri LLP determined in the

Audit that:

       For the period September 2015 through July 2020, the former Fund Administrator’s
       outgoing email activity followed a similar pattern as the outgoing phone calls
       whereby most of the activity occurred between 10:00AM and 4:00PM.

(App. 089 (Ex. 8)).



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       297.    The certified public accountants at Schultheis & Panetierri LLP determined in the

Audit that Defendant Alongi’s entry times at the Funds Office corresponded to her phone and

email activity, “thereby validating the data used in the analysis.” (App. 089 (Ex. 8)).

       298.    In the Audit, the certified public accountants at Schultheis & Panetierri LLP noted

that the findings regarding the hours Defendant Alongi worked on behalf of the Funds were also

“consistent with representations made during discussions with other Fund Office employees.”

(App. 089 (Ex. 8)).

IX.    Rent Attributable to the Coalition

       299.    The Coalition paid nominal annual rent to the Funds of $574 for limited storage of

documents related to its operations. (ECF No. 1, ¶ 49; App. 090 (Ex. 8)).

       300.    A substantial portion of the workforce employed within the Fund Office devoted

significant portions of their time to Coalition business. (ECF No. 1, ¶ 49; App. 088-90 (Ex. 8)).

       301.    At the time of Defendant Alongi’s termination, the Funds were forced to hire

movers to ship at least 40 large boxes of Coalition documents from the Funds Office premises.

(ECF No. 1, ¶ 49; App. 477-99 (Ex. 47)).

       302.    The fair market value of the office space used for Coalition business based on 1.43

full time employees occupying 7.15% of the office space as determined via the Audit was

estimated to have been $27,614 during the period January 1, 2015 through July 21, 2020, rather

than the $3,157 actually paid for the Coalition. (ECF No. 1, ¶ 49; App. 090, 134 (Ex. 8)).

       303.    The Funds were shortchanged by $24,457 for the office space provided to the

Coalition as a result of Defendant Alongi’s unilateral and ultra vires actions. (ECF No. 1, ¶ 49;

App. 090, 134 (Ex. 8)).




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                                                      Respectfully submitted,

Date: November 7, 2022                                s/ Jennifer L. Markowski
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                                 CERTIFICATE OF SERVICE

        I, Charles W. Gilligan, hereby certify that I have, on this 7th day of November, 2022, served
a copy of the foregoing document, by causing a copy thereof, to be sent electronically, through the
ECF system, to the registered participants in this case, as identified on the Notice of Electronic
Filing (NEF).

                                        Charles W. Gilligan
                                        Charles W. Gilligan




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